Case 2:07-cv-00889-DGC Document 89-3 Filed 08/11/08 Page 1 of 47

EXHIBIT D

 

 
Case 2:07-cv-00889-DGC Document 89-3 Filed 08/11/08 Page 2 of 47
KE LA 840 Calle Plano
\ , Camarillo, CA 93012
ENGINEERING. LLC Phone (805) 388-6016

Facsimile (805) 388-6046
ACCIDENT RECONSTRUCTION

 

April 24, 2008
Mr. Scott Freeman
Fennemore Craig, P.C.
303 North Central Avenue, Suite 2600
Phoenix, AZ 85012-2913
Re: Moreno v. Firestone
Dear Mr. Freeman,

As requested, I am submitting this report regarding my accident reconstruction findings to date.
The above referenced matter concerns a single vehicle rollover collision that occurred on June
16, 2004 in Mexico. Reportedly, per the Federal Police Accident Report No. 130/04, while
traveling north bound on Mexico 45 between Ciudad-Chihuahua and Ciudad-Juarez, near the 93
km location, Mr. Angel Juarez Moreno experienced a left rear tire disablement and lost control
of the subject 2000 Ford Excursion. Mr. Moreno’s vehicle experienced a counterclockwise yaw
to the left, emanating from the #2 lane, and exited the paved roadway and entered the median at
a steep yaw angle. In the median, the vehicle continued to yaw clockwise before experiencing a
single driver’s side leading roll and coming to rest upright. During the course of the roll
sequence, the right front passenger, Ms. Antonia De Santiago Castillo was ejected and fatally
injured,

This collision involved a 2000 Ford Excursion with ten occupants. Mr. Angel Juarez Moreno
was the driver; Ms. Antonia De Santiago Castillo was the right front passenger. The middle row
seat contained four passengers including one adult and three children: Beatriz De Santiago
(adult), Beatriz De Santiago (child), Jose Antonio De Santiago, and Jose Carlos De Santiago.
The rear seat contained at least three passengers: Angel Juarez, Jr., Andre Juarez De Santiago,
and Jessica De Santiago. Based on the available information, the tenth passenger, Joaquin
Antonio Juarez De Santiago’s location in the vehicle is not firmly defined.

Materials Reviewed

My retention in this matter was to perform an accident reconstruction of the vehicle motions,
including velocities, times, and locations during the collision sequence. In order to perform this
work, the following documents were reviewed and analyzed:

e Federal Preventive Police Accident Report (Spanish and English translations) including
associated documents including Vehicle Loss Report, Information report, Forensic
Sciences Report

e Autopsy Report including Death Certificate, Toxicological Reports and associated
documents including transportation documents for decedent.

e Customs Entry and Vehicle Importation Documents

e Provided At-Scene Photographs

e Provided Vehicle Photographs

 
Case 2:07-cv-00889-DGC Document 89-3 Filed 08/11/08 Page 3 of 47

Complaint

Medical Records

Appearance and Statement of Beatrice Moreno Lara

Plaintiff's Rule 26 Initial Disclosure Statement

Responses to Defendant’s-Requests for Production to Plaintiff-Regarding Vehicle
History

Deposition of Beatriz De Santiago ~ Taken on March 13, 2008.

Deposition of Angel Juarez Moreno ~— Taken on March 13, 2008.

Deposition of Joaquin De Santiago-Castillo ~ Taken on March 13, 2008.

Birth Certificates

Marriage Certificate

INS Documents

U.S. Department of Justice Authorizations

United Mexican State Civil Registration for Antonia De Santiago Castillo
Federal Electoral Institute federal register of electors voting credential for Juarez Moreno
Vehicle Manual — Excursion Owner’s Guide and Supplement

Vehicle Specifications and data concerning the subject Ford Excursion

Google Earth Aerial Photograph of Accident Location

eo @ @ © @

Traffic Collision Report

The Mexican Federal Prevention Police investigated and documented the physical evidence
related to this collision event. Photographs were taken to document the roadway condition,
impact points and the point of rest of the subject 2000 Ford Excursion.

Vehicle Inspection Conducted

On March 24, 2008, I conducted an inspection and documentation of the accident vehicle in
Corpus Christi, Texas. This inspection included measurements and numerous digital
photographs. This vehicle inspection allowed a scale drawing of the vehicle to be prepared so
that roll dynamics and other facts of the collision could be established. While the photographs
and data are too voluminous to attach to this report, these documents are available for
duplication if requested.

Scene Inspection Conducted

On April 8, 2008, I conducted an inspection and documentation of the accident location in
Mexico. This inspection included Leica total station measurements and numerous digital
photographs. While the roadway had been repaved and restriped, many physical features of the
scene were in the same condition as on the day of the collision. Many scene physical features,
including rocks, trees, signs, fence posts and furrows in the median were still present.
Photogrammetry was performed in order to identify the location of the vehicle point of rest and
tire marks. A scale drawing of the scene was prepared so that vehicle travel distance, roll
distances and other pertinent collision facts could be determined. The GPS coordinates for the
location were determined. While the photographs and measurement data are too voluminous to
attach to this report, these documents are available for duplication if requested.

 
Case 2:07-cv-00889-DGC Document 89-3 Filed 08/11/08 Page 4 of 47

Scene Evidence

The vehicle on and off road tire marks and furrows were plotted on a scale scene reconstruction
drawing based on their locations as shown in the provided photographs. The vehicle point of
rest was determined. The vehicle roll path was determined. Tempered glass deposits were found
along the vehicle roll path. Fractured, darkened tempered glass including an attached Ford part
number from the left rear cargo area fixed glass was located at the scene and measured.

My CAD drawings and analysis of the scene are not all attached to this report but upon request,
they are available for duplication by my office.

Vehicle Evidence

The 2000 Ford Excursion, VIN IFMNU41SXYED26307, was inspected and photographed on
March 24, 2008. Additionally, photographs taken by others were studied and utilized in the
accident reconstruction analysis. The 2000 Ford Excursion is equipped with four wheel drive,
manual locking front hubs, standard ABS (Anti-Lock Braking System), 6.8L V10 gasoline
engine and supplemental airbag restraint system for the driver and front passenger. The
odometer read 80,400 miles at the time of the inspection. The airbags are not deployed.

The vehicle exhibits distinct abrasions and damage consistent with the rollover. The paint
scratches and abrasions occurred as a result of the vehicle rolling over and sliding and impacting
the painted surfaces against the ground. Analysis of these paint scratches and abrasions allows
the determination of the progression of the rollover. The structural deformation was also
analyzed in order to determine loadings experienced during the rollover. Left side contact
damage indicates a significant left side impact in the initial quarter roll. This left side contact
was sufficient to fracture the left rear fixed window as well as cause structural changes to the
roof and support pillars. An analysis of scratch and abrasion direction and order was performed
on the subject Ford Excursion. The analysis of the structural deformation patterns was also
performed and the roll sequence determined. The right side, upper surfaces of the roof rails and
hood, and left side of the vehicle exhibited distinct abrasion directions in the documented
damage. There are numerous localized scratches and deformation.

The vehicle exhibits severe abrading of the outer shoulders and outboard tread blocks of the right
side tires, both front and rear. This tire evidence is consistent with the photographed, heavy tire
marks left by the Ford during the counterclockwise yaw as it left the paved surface and confirms
the vehicle was passenger side leading during this maneuver.

The left front and right front windows were both fractured while in the up position based on
window mechanism position and the location of tempered glass pieces in the window frame.
Tempered glass will fracture due to both direct and induced forces applied to the roof and
supporting structure.

Accident Reconstruction Conclusions

After examining the scene evidence, the vehicle evidence and the testimonial evidence, scale
scene and vehicle drawings were created and analyzed in order to reconstruct the vehicle
motions from the onset of the physical evidence up through the rollover. Industry standard and
peer accepted reconstruction methodologies are employed to arrive at the following conclusions.

 
Case 2:07-cv-00889-DGC Document 89-3 Filed 08/11/08 Page 5 of 47

The accident reconstruction drawing, showing the physical evidence and the reconstructed
vehicle motions, is attached to this report.

On Road motions: On-road tire marks were observed and determined to be from the right side
tires of the Ford. These tire marks are plotted to scale on the reconstruction drawing and it was
determined that the Ford started leaving these marks while in the Northbound #2 (right hand)
lane. These tire marks represent greater than 90 feet of on-road movement. At the end of the tire
marks, at entry to the unpaved median, the Ford has rotated counter clockwise greater than 90
degrees. The speed at the start of the visible tire marks, is determined to be approximately 60 to
72 mph. .

Motions Through Unpaved Median: The vehicle enters the unpaved median at a yaw angle
greater than 90 degrees with the passenger side leading and the vehicle facing in a westerly
direction (assuming a northbound roadway). The Ford traverses approximately 145 feet through
the unpaved median while rotating approximately 180 degrees in a counter-clockwise manner up
to the start of heavy furrowing and tripping of the vehicle as it leads to rollover. The Ford is
traveling at a velocity of approximately 47 to 59 mph upon entering the median. The Ford is
yawing, counterclockwise, greater than 60 degrees per second at entry to the median.
Additionally, the Ford is yawing, counterclockwise, greater than 70 degrees per second while
traversing the median.

Motions through Trip Phase: The Ford leaves heavy dirt furrowing marks in the median for
approximately 20 feet before it begins rollover. At the start of the 20 feet of furrowing, tripping,
the Ford is traveling at approximately 30 to 36 mph. The trip phase ends in an area of disrupted
rocks and piled dirt indicating an increase in rollover inducing forces at the end of the trip phase
due to increased interaction with the ground.

Motions through Rollover: The damage pattern observed on the accident vehicle, the debris
field, contact marks observed at the accident scene, and orientation of the vehicle at point of rest
indicate that the vehicle rolled one time (360 degrees), prior to coming to rest upright and on its
wheels. It was also determined that the rollover distance was 31 feet. The speed at the start of
the rollover was approximately 21 to 23 mph using industry accepted drag factors. The time
duration of the rollover was approximately less than or equal to 2 seconds. The average roll rate
was calculated to be approximately 180 to 200 degrees per second; peak roll rates will be
significantly higher.

Qualifications

I am the Technical Director of the consulting firm of KEVA Engineering, LLC located in
Camarillo, California. Prior to my employment with KEVA Engineering, LLC, I was a Research
Engineer with the consulting firm of Collision Research and Analysis, Inc. located in Torrance,
California. Since 1988, my full time work has been in the field of accident reconstruction. I
have participated in the analysis and engineering reconstruction of over 1800 transportation
accidents. I have performed vehicle crash testing including rollover collision testing. I obtained
a bachelor of science in Mechanical Engineering from the University of California at Santa
Barbara in 1988 and have done significant continuing education and professional development
since receiving my degree. ] am a member of the Society of Automotive Engineers, the

 
Case 2:07-cv-00889-DGC Document 89-3 Filed 08/11/08 Page 6 of 47

Association for the Advancement of Automotive Medicine, The Human Factors and Ergonomics
Society, and the American Society of Mechanical Engineers. I have edited a technical
compendium book on accident reconstruction for the Society of Automotive Engineers and have
authored or co-authored research publications in the field of transportation accident analysis and
have instructed and lectured on Accident Reconstruction for various professional societies. A
true and correct copy of my curriculum vitae is being provided with this report.

This report and the written opinions and conclusions are based on my background, training,
experience, and expertise in the area of accident reconstruction, vehicle dynamics, driver
performance and vehicle safety. Methodologies that are utilized are based on peer reviewed and
accepted calculation techniques.

The opinions and conclusions in this preliminary report are based upon the material reviewed to
date. Receipt of additional material may require additional analysis and there may be refinement
and additions to this report. If you have any- questions, please do not hesitate to contact the

_ undersigned.

Respectfully Submitted,

1 Lew! VUnnat

‘Michael S. Varat
Technical Director
KEVA Engineering, LLC

 
 

ACCIDENT SCENE

 

 

 

 

LEFT QTR GLASS

BLACK GLASS

    

 

 

 

 

 

 

STATION 001

 

Case 2:07-cv-00889-DGC Document 89-3 Filed os/11h D8 Pagel/ of 47

PRELIMINARY
MORENO V. FIRESTONE, et al.

  

0 10 50"

 
. Case 2:07-cv-00889-DGC Document 89-3 Filed 08/11/08 Page 8 of 47
840 Calle Plano
4 K. E VA Camarillo, CA 93012
ENGINEERING LLC Phone (805) 388-6016

Facsimile (805) 388-6046
ACCIDENT RECONSTRUCTION

 

 

MICHAEL S. VARAT CURRICULUM VITAE
POSITION

Technical Director /Automotive Engineer specializing in transportation accident analysis and

reconstruction, automotive safety, and vehicle dynamics analysis. Consulting activities include the

analysis, reconstruction and occupant kinematics analysis of automobile, truck, auto-pedestrian,

motorcycle and bicycle collisions.

Consulting activities also include court appearances as an expert witness.

EXPERIENCE
Automotive Engineer with the consulting firm of KEVA Engineering, LLC from 1993 to present.
Research Engineer with the consulting firm of Collision Research and Analysis from 1988 to 1993.
Since 1988, have been responsible for the analysis, engineering reconstruction and trial preparation of
over 1800 automobile, motorcycle, auto-pedestrian, truck, and bicycle collisions. Designed, participated
in, conducted and analyzed numerous full scale automotive collision tests.

Performed instrumented vehicle handling and performance tests including braking performance tests
involving SAE J2505 methodology, handling tests and dynamic vehicle response evaluations including
SAE J266 testing.

Developed and wrote CAE applications currently used for accident reconstruction and collision
dynamics analysis.

Performed instrumented motorcycle handling and braking performance evaluations. Motorcycles ridden
and tested include off-road, sport, cruiser, scooters and touring type motorcycles.

Engineering duties have also included numerous static and dynamic laboratory experiments to evaluate
the performance of safety related components including seats, seat belts, fuel systems, and door latches.

EDUCATION
Bachelor of Science - Mechanical Engineering, University of California at Santa Barbara, 1988.

Continuing education courses and conferences on the following topics taken over the last 20 years:
o Advanced Engineering Analysis, Finite Element Theory

Crash Reconstruction, Impact Biomechanics, Accident Injury Scaling

Occupant Kinematics, Airbag Sensor Design, Automotive Safety and Restraints

Rollover Collisions

Traffic Engineering

Air Brake Systems

Vehicle Dynamics, Tire Engineering, Automotive Dynamics Instrumentation

Performance Evaluation of Anti-lock Braking Systems

0000000

Automotive Safety Consulting Motorsports Technology
www.kevaeng.com

 
Case 2:07-cv-00889-DGC Document 89-3 Filed 08/11/08 Page 9 of 47

PROFESSIONAL AFFILIATIONS
SAE: Society of Automotive Engineers - Member;
AAAM: Association for the Advancement of Automotive Medicine - Member.
HFES: Human Factors and Ergonomics Society - Member.
ASME: American Society of Mechanical Engineers - Member.

0000

HONORS
o PITAU SIGMA, National Mechanical Engineering Honor Society - Member.

o SAE Recognition Awards:
e Organizer for Automotive Seat Design for Safety TOPTEC, Marina Del Rey, CA, 1995.
e Organizer for Accident Reconstruction: State of the Art TOPTEC, Costa Mesa, CA,
1999,
e Organizer for Accident Reconstruction: Special Topics TOPTEC, Tempe, AZ, 2001.
e Organizer for Accident Reconstruction Symposium, Ventura, CA, 2005.

o 2008 Forrest F. McFarland Award from SAE for contributions toward the work of the SAE
Engineering Meetings Board (EMB) in the planning, development, and dissemination of
technical information.

RESEARCH COMMITTEE APPOINTMENTS AND ACTIVITIES

o Chairman of Accident Reconstruction Sessions at SAE Congress, Detroit, MI, 1993, 1998, 2001,
2002.

o Member of Editorial Advisory Board for Accident Analysis and Prevention, An International
Journal. Official Journal of the Association for the Advancement of Automotive Medicine and
Sponsored by the International Association for Accident and Traffic Medicine and the
International Research Committee on Biokinetics of Impacts. 1993-1996.

o Member of SAE Transactions Selection Committees #22, #22AR, and #70 in the areas of
Passenger Protection, PC Accident Reconstruction, and Safety (1994 - 2004).

o Member of SAE Accident Investigation and Reconstruction Practices Standards Committee.
e Past Chairman of IT-9 Collision Trajectory Algorithm Task Group.
e Member of IT-6 Tire-Roadway Friction Task Group (J2505).
e Member of Motorcycle Reconstruction Practices Task Group.
e Co-Chairman of J1675 Accident Reconstruction Terminology Task Group

o Member of SAE Seat Standards Committee (currently inactive committee).
e Past Chairman of J879b Update Task Force Committee.

o Member of SAE Impact and Rollover Test Standards Committee.
o Member of SAE Occupant Protection Committee (Vice-Chair 2008-2009).

o Co-organizer of SAE Accident Reconstruction Sessions at 2001 through present SAE Congress.

o Co-organizer and Lecturer at BH2VK Crash Testing Project Seminar, San Bernardino, CA,
1993,

Automotive Safety Consulting Motorsports Technology
www.kevaeng.com

 
Case 2:07-cv-00889-DGC Document 89-3 Filed 08/11/08 Page 10 of 47

PEER REVIEW COMMITTEE APPOINTMENTS
© Technical Publication Review Committee for the following Publications:

e SAE Publication: Automotive Safety: Present and Future Technology, 1992.

e 39th Annual Proceedings of Association for the Advancement of Automotive Medicine
Conference, Chicago, IL, October, 1995.

e SAE Publications: Accident Reconstruction: Technology and Animation IV-LX, 1994 -
1999.

e SAE Publication: Accident Reconstruction: Analysis, Simulation, and Visualization,
2000.

e SAE Publication: Accident Reconstruction: Crash Analysis, 2001.

e SAE Publication: Accident Reconstruction, 2002 through 2008.

EDITED BOOKS
Varat, M.S., Crash Reconstruction Research: 20 Years of Progress (1988-2007), PT-138, ISBN
Number: 978-0-7680-2052-6, Society of Automotive Engineers, Warrendale PA, 2008.

AUTHORED AND CO-AUTHORED RESEARCH PUBLICATIONS

1. Developed photogrammetry computer program for following publication: Kerkhoff, John F.,
Photographic Techniques for Accident Reconstruction. SAE Paper 850248. Published in SAE
Publication, Field Accidents: Data Collection, Analysis Methodologies, and Crash Injury
Reconstruction, P-159. Society of Automotive Engineers, Warrendale PA, 1985. Participation
Acknowledged in Publication.

2. Husher, Stein E., Varat, Michael S., Kerkhoff, John F., Survey of Photogrammetric
Methodologies for Accident Reconstruction. Proceedings of the Canadian Multidisciplinary
Road Safety Conference VII, Vancouver, B.C., Canada, 1991.

3. Varat, Michael S., Husher, Stein E., A Study of Partial System Vehicle Braking. (Published
abstract) Proceedings of the Canadian Multidisciplinary Road Safety Conference VII,
Vancouver, B.C., 1991.

4. Kerkhoff, John F., Husher, Stein E., Varat, Michael S., Busenga, Alison M., Hamilton, Kevin G.,
BH2VK Crash Testing Project Seminar Notes. August, 1992, San Bernardino, CA.

5. Blaisdell, David M., Levitt, Andrew E., Varat, Michael S., Automotive Seat Design Concepts
For Occupant Protection. SAE Paper 930340. Society of Automotive Engineers, Warrendale PA,
1993. Published in SAE Publication, Seat System: Comfort and Safety, SP-963.

6. Kerkhoff, John F., Husher, Stein E., Varat, Michael S., Busenga, Alison M., Hamilton, Kevin G.,
An Investigation into Vehicle Frontal Impact Stiffness, BEV and Repeated Testing for
Reconstruction. SAE Paper 930899. Society of Automotive Engineers, Warrendale PA, 1993.
Paper elected to 1993 SAE Transactions Volume 102, Journal of Passenger Cars. Published in
SAE Publication, Accident Reconstruction: Technology and Animation IIT, SP-946.

7. Hight, P., Fugger, T., Marcosky, J., Varat, M.., Asymmetric Water Drag on Vehicle Trajectory
and Human Response, Paper C462/39/106, AutoTech’93, Institute of Mechanical Engineers,
Birmingham, England, 1993.

8. Varat, Michael S., Husher, Stein E., Kerkhoff, John F., An Analysis of Trends of Vehicle Frontal
Impact Stiffness. SAE Paper 940914. Society of Automotive Engineers, Warrendale PA, 1994.
Published in SAE Publication, Accident Reconstruction: Technology and Animation IV, SP-
1030.

Automotive Safety Consuiting Motorsports Technology
www.kevaeng.com

 
4.

Case 2:07-cv-00889-DGC Document 89-3 Filed 08/11/08 Page 11 of 47

9. Husher, Stein E., Noble, Mark M., Varat, Michael S., Kerkhoff, John F., An Analysis of ATD
Seating Positions in NHTSA Frontal Crash Testing. SAE Paper 950890. Society of Automotive
Engineers, Warrendale PA, 1995. Published in SAE Publication, Advances in Occupant
Protection Technologies for the Mid-Nineties, SP-1077.

10. Varat, Michael S., Husher, Stein E., Parametric Study of Automobile Impact Severity in a
Diverse Vehicle Population Environment, ISATA Paper 96SAF059, Published in the
Proceedings from the Dedicated Conference on Road and Vehicle Safety, 29th International
Symposium on Automotive Technology and Automation, Florence, Italy, 1996.

11. Varat, Michael S., Husher, Stein E., Vehicle Crash Severity Assessment in Lateral Pole
Impacts, SAE Paper 1999-01-0100, Society of Automotive Engineers, Warrendale PA, 1999.
Published in SAE Publication, AccidentReconstruction: Technology and Animation LX, SP-1407.

12. Varat, Michael S., Husher, Stein E., Vehicle Impact Response Analysis Through the Use Of
Accelerometer Data, SAE Paper 2000-01-0850, Society of Automotive Engineers, Warrendale
PA, 2000. Published in SAE Publication, Accident Reconstruction: Analysis, Simulation, and
Visualization, SP-1491.

13, Varat, Michael S., Kerkhoff, John F., Husher, Stein E., Armstrong, Christopher D., Shuman,
Karl F. The Analysis and Determination of Tire-Roadway Frictional Drag, SAE Paper 2003-01-
0887, Society of Automotive Engineers, Warrendale PA, 2003. Published in SAE Publication,
Accident Reconstruction 2003, SP-1773.

14. Varat, Michael S., Husher, Stein E., Crash Pulse Modeling For Vehicle Safety Research, Paper
#501, Presented and Published at the 18TH International Technical Conference on the Enhanced
Safety of Vehicles, Nagoya, Japan, 2003.

15. Varat, Michael S., Husher, Stein E., Shuman, Karl F., Kerkhoff, John F, Rider Inputs and
Powered Two Wheeler Response for Pre-Crash Maneuvers, Published and Presented at the 5th
International IFZ Motorcycle Safety Conference, Munich, Germany, 2004.

16. Provided Acknowledged Accident Reconstruction Support to: The Alliance Rollover Study of
NASS and FARS Data, Phase 1: NASS Injury Statistics, Docket NHTSA-1999-5572-119, 2004.

17, Shuman, K.F., Husher, S.E., Varat, M.S., Armstrong, C.D., Do I Brake or Do I Swerve —
Motorcycle Crash Avoidance Maneuvering, Published and Presented at The 2006 International
Motorcycle Safety Conference - The Human Element, Motorcycle Safety Foundation, Long
Beach, CA, 2006.

18. Varat, M.S., Husher, S.E., Kerkhoff, J.F., Armstrong, C.D., Steiner, J.C., Modeling of Truck-
Car Sideswipe Collisions Using Lug Patterns, SAE Paper 2008-01-0179, Society of Automotive
Engineers, Warrendale PA, 2003. Published in SAE Publication, Accident Reconstruction 2008,
SP-2160.

INVITED LECTURES
Varat, Michael S., Accident Reconstruction and Forensic Engineering, Guest Lecture at ME150
Course, University of California, Santa Barbara, 1990.
Varat, Michael S., Husher, Stein E., Delta V and Collision Severity in Frontal Impacts, Lectured at
36th Annual Conference of the Association for the Advancement of Automotive Medicine, Portland,
OR, 1992.
Varat, Michael S., Frontal Collision Restraint System Evidence, Course Faculty Member at Car
Crashes and Occupant Injuries: A Team Approach to Crash Investigation, presented by the
Association for The Advancement of Automotive Medicine, Tempe, AZ, 1997.
Varat, Michael S., Kerkhoff, John F., Assessment of Vehicle Crash Severity — Delta V Analysis,
presented at the Meeting of the Society of Forensic Engineers and Scientists, Yosemite, CA, 1998.

Automotive Safety Consulting Motorsports Technology

www.kevaeng.com

 
10.

11.

12.

13.

14.

15.

Case 2:07-cv-00889-DGC Document 89-3 Filed 08/11/08 Page 12 of 47

. Varat, Michael S., Frontal Impacts: Occupant Dynamics and Injuries, Course Faculty Member at

Car Crashes and Occupant Injuries: A Team Approach to Crash Investigation, presented by the
Association for the Advancement of Automotive Medicine, Tempe, AZ, 1998, 1999, 2000.

Varat, Michael S., Pole Impacts: Vehicle and Occupant Dynamics, Course Faculty Member at Car
Crashes and Occupant Injuries: A Team Approach to Crash Investigation, presented by the
Association for the Advancement of Automotive Medicine, Tempe, AZ, 1999.

Varat, Michael S., Accident Reconstruction: Vehicle and Occupant Dynamics, Presentation at SAE
Seminar: Injuries, Anatomy, Biomechanics and Federal Regulation, Course Director, Jeffrey Pike,
Costa Mesa, CA, 1999.

Varat, Michael S., Analytical Collision Pulse Modeling, Presentation at SAE TOPTEC, Accident
Reconstruction: State of the Art, Costa Mesa, CA, 1999.

Varat, Michael S., Heavy Vehicle Interaction with Roadside Hardware, Presentation at SAE
TOPTEC, Heavy VehicleRollover: Prevention, Analysis, and Reconstruction, Vancouver, Canada,
2000.

Varat, Michael S., Barrier Equivalent Velocity Analysis in Accident Reconstruction, Presentation at
SAE TOPTEC, Accident Reconstruction: Special Topics, Tempe, AZ, 2001.

Varat, Michael S., Assessment of Vehicle Crash Severity, Presentation at Southwestern Association
of Technical Accident Investigators Conference, Phoenix, Arizona, 2001.

Varat, Michael S., Husher, Stein E., Collision Severity in Rollover Accidents, Presentation at SAE
TOPTEC, Passenger Vehicle Rollover TOPTEC: Causes. Prevention and Injury Prevalence,
Scottsdale, AZ, 2002.

Varat, Michael S. Accident Reconstruction: Understanding How Accidents Occur, Presentation at
California Institute of Traffic Safety (CITS) Course: Traffic Safety and Liability Analysis, San Diego
State University, San Diego, CA 2002.

Varat, Michael S., Who Was Really Behind the Wheel? A Case Study in Accident Reconstruction,
Presentation at Fall 2005 Seminar Technical Program of the California Association of Criminalists,
Los Angeles, CA, 2005.

Varat, Michael S. Motorcycle Cornering and Braking: Lessons for Accident Causation, Presentation
at the SAE Accident Reconstruction Symposium, Ventura, CA 2005.

RELATED ACTIVITIES
o Since 1984, practical vehicle dynamics experience gained through active participation in Sports
Car Club of America (SCCA) competition including Solo I, Solo I slalom, and National and
Regional Road Course Racing. Competition experience includes Formula, GT, and production
based racing cars. Currently hold an SCCA National Competition License.

o Practical motorcycle experience includes involvement in AMA and BITD off-road desert racing
and street riding experience. Currently own both off-road and street motorcycles.

Automotive Safety Consulting Motorsports Technology

www.kevaeng.com

 
Case 2

07-cv-00889-DGC Document 89-3 Filed 08/11/08 Page 13 of 47

LJo | oBeg

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 
 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 
 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Wo “Aunod Bape Wo “ousely e00arerr a Auef oqgeys Blepewjo Anco | —suoseW |: Uonisedag |
Ayunog BinjleA Vo Binjuax BO0zEzIP a UIAS>] HORODOW | Uoscdeg |
ANOS ebuesoO YO "Buy ByueS edocoErl a Hoos "YRWwS fet
Vo ‘Heusioxeg Vo Sejebuy SOT Zoogecitt a yaqoy “Wasuatiow | | Uoqisodag |
ARNoD ebuBIO Yo ‘sajobuy S07 LOOuSvitT a Roos HWS AeainL OsOpy vopiscdsg |
AUD BINUaA Vo “aDeHIA SHENSEM | ZO0Z/LE/OF a UyOF Gespne}
Yo “obsjq ues” VO ‘Saebuy soy Zooaee/oL a Heqoy "Wo)suebioy | BaTssds |
Vo ™™asieg VO Syepusio Lodciecior G SUuYy “BIA ULOW Uopscdeg
Aung VA Vo ‘Sajenuy so7 Zodereesor a OIA OUTS Sejobuy S07 J0 AYO TeAOL TEBE
ROMO VA Vo BoluoW ees | Z00z/S701 Gq [ued UeTeAY BOHOWY GHA TSP uoiysodeg
Runog Wt VO "Sajebuy S07 LOGuvIE a TOBA “SHBHOS Seebuy so7 fo MIO SEAOL Topsodeq
RyunOD SBUBIO Vo "ebuBIO Looe ie a OUT “PEUOGOW yebpoig SUEY
RUNES VA Vo Uopeyna 200z6ei9 d yOUe UOUBREN 23/956 aoe
Runes wd yo ‘Sojobuy so7 L007/6Z/5 a Bais ‘uospunuly OU/DUZ JO 48A0Y PUue] UDAAY
AunGS eInylEA Vo Relea huis Zouaelp a ong ‘SEeqIy Buponi 76a velo
WO Oulpiedisg ues Vo "Sejebuy S07 LOOCIe a JeYTO\SOIID UOSeIPHIH Vous ots a
Munog eInjusA WO ‘Sajebuy S07 LOOCIETE a SUS ‘Sieaiy Buporiy ieeg ueIOy
Se5tP0Os AuNoD WT Vo ToTEpualD Lodzieee J SPHES “UREN UeeDpOOy UepeyonouEyy
z6zZ800S Aun0d “Wt Vo “sajabuy S07 Loogeeit 7G auoTs Bars XoUIeD TWINS
es9e2007 Ayun09 Wt Wo ‘euspestd Looziozit d uOSIapUOH PEW asnvt sepues
Srerpeod Auno9 Wy Vo BinVuaA Looztiiy a Apulia ned WOES JOqIAA
SLLILPOOM Runog “VI Vo ‘Sajabuy so} LO0zIP/T a Bleneg Aey Voss ses uigny voHisodeg
TW RUROD WMO Weed S00z/r TT 3 BARS “VOHOXS wwe ejdoed eur |
doorPEoE Rung WI WO SlepusI 300z/Ez/01 q souasney UUNG zed siepues | vomsoded
e501P0oa Rung WI VO “SIEpuaID sn0c/ec/or d eI SewouL Thoz Are Uopsodeg
sZeoeeoa Rune WI Vo ‘sejabuy S07 g00z/e/ot d Teqou “uyey Utieg Buojsuly [Uonisodaq
gttrs00s Hunog WT Vo aEpuaS 9002/9/6 d Jd OeupIG wosutor uyoS uofsodeq
SOLS bOOL Runes WI YO sopebuy S07 g00c/ti6 qd welg Ooseg on VEU i) vonsoded
TOESEOAD noo felepes Wo Sopsbuy 507 e00c/0r/a a Gegsliy "zenbiolog sajebuy $0740 ATO cenas Tey
oveseiod Runo9 “WI WO SIEDUSIS S00e/L Le a sovemey TUNG VENTE ueKg Gonisodeq
SeeoLd0T VO SAN TEA Vo ‘sajebuy 507 900z/9/8 G Baig “Uospuntiy SIOVOW WOK ALSL UpARY uonisodeq
VESEOAD TheD (eleped Yo "sopttiy S07 ‘BOdeL/Z a wensHyD ‘zenbio[og Sojebuy 50750 AO uends Uonisodeq
SPRESOAD | WolmsD JO Tid leNeD WO ‘Sajebuy S07 S00e/LL a Uapy UAST BuporuL TAW uEyeieEO  [vonsodeq
ELOZTSSAOS ‘Supewieg UES ¥O “oulplelieg ues g00z/te/s G woos “KeuaoUS BuppraL VMS seuoL lee
9tZ9Z0A0u oujpeleg UES vo ‘ebuoWeanD oloued | 900z/P1/9 a veydays “Bepoog souaeS ZeieNY Tel
Els0ztSSAOS oulpeuieg ues VO SHIH Apensg g00z/ec/s Gd Hoos “KeuUOyS BupONL VMS SeuioL Woyysodeq
SSPESEL UNnoD BeQ“eg Sues Wo ‘Sajabuy so") g00Z/6L/S a psqoy Uia}suSmuOYy UOHSMWSUOD JOU AgyAS SOWEY UaHIsodeq
DS0esoOS Rung WT VO BONUOW BIUES S00Z/6/5 a RauoH SMaT Sajebuy 50770 AO eyaulays Tent
aeseccou RunoD WA PUE[POOAA S00eLeir a "WW AUSTIUY "BIW SaSbUY SOTIO AIO eseEy uoqIBOasC
grZaLOADY RUA WAT Vo Sapbuy so} BOOzS TF a JeDSyOS eonig SOBSTEO ZeIENY wonisodeg
esreccog Rung WI Vo ‘sepeBuy soy 300/Lir qd Ralyoas Uspmoid Sojabuy S07 J0 MO UNoIg woRsoda
yy uosuwooia g00z/F/F 5 Ber “eonsny SUOIOR] aidoed repr
soleceoa Rung WA s00e/Pz/e G Kojosg “uspmo|d | __ sejebUY SOTO AO |‘ umbig” | uomsodeg
ezers0o7 Runa WI Vo UHOMS}RUD a00z/elie J Spies “UByELAG Sajueo ail punoguyey Reo wey
OFZOLOAOU oulpeilieg es Wo Buy ues eo0ZoLe a JoTWOUS eoTIG SOBSTES ZaleAy Uonjsodeg
8269097 Runs VI VO "WUOMSEND 9002/L/E d spyes Uayeyno slajieo ell punoqueg BOTY feu
reoszcog uN WI Vo saebuy soy goose a JeeeH “Agny soy Rebuy Ten
rs0secos unos WA VO "Sepenuy S07 g00z/ere G JeyiesH “AGny ssou Biabuy uoRisodeg
OL81PPOO Rano VAI Yo ‘Buepies g00z/ecit a Kisg yen SOW [eveles Bpue(EA | Vonsodag”
AGN WEG s00ePely 3 Ber eonsnr SUSE] adeeg reer
Vo "euapese soowet/t d Spues "UBLENO upeuey ojo5 onisodad |
uno Telapes WO SapebUy Soy sodzieer 3 uqor "Bue, FaysT7 Cog Boe Ten
8Z6PO007 Kurd VI WO ed EROS S00z/S/Or d SpES “UElELINO 1eq07 adhd vopsodeg
paoleeog Kons FI Vo “exjuoyy ees So0z/6/6 qd Sajebuy so7jo Mio sepesoy | vonisodeg
yso} 300 Pid - paunooo levi! Sdeelow, Run0d WI Yo "SITH BuEIpOOM so0zoce a JePEHOS PAE UESSIN AV Wasoy uoRsodsg
@zboL xo sed TS souceze a TORE HEN, pio,j [euedeyS Wosueydes | Uopiscdeq
Ze0tPOSA Aung WA YO “SIEpuR|D So0z/re/e d qdesor "sexes uosseupuy ous UoysedsT |
Seeger Vo ELEN Byes Sones Gg BUNSEN JFOXUOTOW, LS) GuedieH eT
Ti Hunod Wed sooztey 3 Der Bonsnr BUSIDET adoeg Te
CZELLOOL RUROS WT ‘VO “SHIH Aponeg so0zele a Bleqeg ‘sMeUnIon | SHIA JO PRIS zepueweH | vopisodeq
O8dPE00d AnD “Vy Yo “quomsyeyo Sodzele a Goser USYOS TELIA onds eu
osErs0od | Ano WI WO SooW ees Sona rie a udsEF “uaqOD WOE aids” | vonsodeg
Run0D W7 VO ‘Sopebuy Soy vode/oret a WIS 35K Anos WT ZepueweH ev
Runoa WI Vo ‘sepeBuy so7 voog ter G Waieg 83K AUS VI ‘zepuBiey jeu
S7LS1008 ~RURES WT POOZIOLTE a [ejueg “vosdwoyL ZeAeN OSsOpEPPEN
02206208 Rung WI yO0z/SaS a JODIA “OURS sajabuy S070 ATO ree
ozz06e Sa Rung Wy WO SUBTIA SHENSEAA PO0zSIS a WIOPIA SHAUDS Sajebuy 807730 AO WonIsossG
sezecty ANNES SINUS A, VO EINUBA voozislir a SuISUH JONSON ses Moy ly AOuES " UueieH | vonsoded
708982 08 Runa v4 Wo ‘saebuy 507 voozstie a souey Tunewg SaSbUY 50750 AiO JOEN wonisodsg
620 OSL Runes WI yooz/tere o UAessop Tepuld Sajabuy $0750 Alo soled veUL
Teteecod Aunes Wy voozsie a PEIN SeWOUL Spoos OUD 1S ujbzer Te
¥E9Z000E0 ‘Runog ebueiG yooziLe/t a Pine 89S wORsel uMolg ToL
BELILOOL Ruinog WI Yo “sepebuy soy vodeecit a BUUEZHS “UesuERS UO SajeBtiy $0730 AIO uoRsodag
Aun WA voOzor/t q ¥aISG SOK AROS VT zepuewier teuT
€v699708 Autos VT poozylit q auUeZNS Uaslensuyo SHOEBUY 60950 AiO UOsieN eu
ys9z000e0 Aunog ebueIS VO Sui voogiert G PIA 28S wosey unig UoRisodeg
008ste Al Aunda WT Yo “oupuy vooeat Gg Keujer “PIeH BINUSA JO AuNOS ‘spuog Uonjsodeg
reesee 8 Aunog Wt Vo “SiH PUE|POOAA vO0cIS/T a uaaine A ‘sel0y) Spood oue9 fa aquzer Uonsoded
JOqUINN esey anus, uo}RB207 ayeq ‘SyUasalday WeljD GWEN WAS yuepuajeg Bue, uoWNseL

 

 

 

 

 

Juang - Bugsy] Auowoyse! yeea,
840 Calle Plano

KEV Document 89-3 Filed 08/11/08 Page 14 of 47
4, ri Camarillo, CA 93012

ENGINEERING, LLC

ACCIDENT RECONSTRUCTION

 

Phone (805) 388-6016
Facsimile (805) 388-6046

Fee Schedule (effective January 2008)

ACCIDENT RECONSTRUCTION SERVICES:

Michael S. Varat
John F. Kerkhoff
Stein E. Husher
John C. Steiner

Christopher D. Armstrong

SUPPORT SERVICES:
Animation / 3D Graphics

CAD Designer
Mechanical Fabrication
Technical and Research Support

Non-Technical Case Support

Hourly Rates include time spent in the research, analysis and testimony on a specific assignment. This time
typically includes: conferences, inspections, analysis and reconstruction, testing, trial and deposition
preparation. Rates also apply to any required deposition, arbitration and trial testimony. There are no minimum

time charges for expert testimony.

Above hourly rates do not include expenses. Expenses typically include: mileage, photographic and video
costs, courier expenses, copying expenses, exhibit preparation expenses, and rental of required specialized

$240.00 Per Hour
$230.00 Per Hour
$210.00 Per Hour
$165.00 Per Hour

$150.00 Per Hour

$125.00 Per Hour
$95.00 Per Hour
$80.00 Per Hour
$80.00 Per Hour

$38.00 Per Hour

equipment. Outside expenses are billed at our cost.

A Retention Letter is required before any file is opened. Retaining KEVA Engineering does not automatically
include the right to designate the engineers as expert witnesses. Expert Designations are not to be sent out until

material has been reviewed and the individual engineer has agreed to be named.

Automotive Safety Research and Consulting
www.kevaeng.com

Motorsports Technology Development

 
Case 2:07-cv-00889-DGC Document 89-3 Filed 08/11/08 Page 15 of 47

EXHIBIT E

 
Case 2:07-cv-00889-DGC Document 89-3 Filed 08/11/08 Page 16 of 47
Dagmar B. Jewkes P.

599 McDade Street
Tyrone, GA 30290
(770) 632 1626
dagmar @wer.com

 

Scott Freeman

Fennemore Craig, P.C.

3003 North Central Avenue, Suite 2600
Phoenix, Arizona 85012-2913

April 25, 2008

RE: Moreno v. Firestone

Dear Mr. Freeman:

| reviewed the materials that were received from your office. Additionally, |
inspected the subject 2000 Ford Excursion XLT on March 24, 2008, during which
photographs, measurements and notes were taken with regard to the right front
passenger. Furthermore, | conducted a surrogate study with use of an exemplar
2000 Ford Excursion XLT on April 23, 2008. The biomechanical issues
concerning Mrs. Antonia de Santiago Castillo were evaluated based on the
received materials, the subject vehicle inspection and the surrogate-exemplar
study.

Materials Received

General

~ Driver's License Angel Juarez Moreno

~ State of Texas Certificate of Birth- Jessica de Santiago 5/21/1999

— State of Arizona Certificate of Live Birth- JoseCarlos de Santiago,
10/31/2001 (twin).

— State of Arizona Certificate of Live Birth-JoseAntonio de Santiogo,
10/31/2001 (twin)

— State of Texas- Certificate of Birth. Beatriz de Santiago -2/27/1999

~ Certificate of Naturalization, Beatriz Moreno 7/23/1993

— Arizona Certificate of Title

~ United Mexican States Civil registry- Daniel Juares de Santiago
10/23/1986; Carlos Juarez de Santiago 9/2/1982

— Federal Preventive Police Report; 6/16/2004

 
Case 2:07-cv-00889-DGC Document 89-3 Filed 08/11/08 Page 17 of 47

United Mexican States- Marriage Certificate of Angel Juarez Moreno and
Antonia de Santiago Castillo, dd. 7/4/1981

Order of Admission- Metropolitana

Temporary Vehicle Import Permit

Appearance

Information Report

Legal Documents

Complaint

Plaintiff's rule 26 Initial Disclosure Statement

Declaration of the Probable Responsible Detainee

Responses to Bridgestone Firestone North American Tire, LLC’s requests
for Production

Spanish Documents

Funerales Miranda

Estados Unidas Mexicanos Registro Civil Estado de Chihuahua
Secretaria de Salud-Traslada de Cadaveres

Orden de Admision. Metropolitana

Administracion General de Aduanas permiso de Importacion Temporal de
Vehiculos

Estados Unidos Mexicanos Registro Civil —- Daniel Juarez de Santiago —
10/23/1986; Carlos Juarez de Santiago 9/2/1982; Joaquin de Santiago
Garcia 2/13/1938; Maria de la Luz Castillo Moreno

Acta de Matrimonio- Angel Juarez Moreno and Antonia de Santiago
Castillo 7/4/1981

Reporte de Accidente 6/16/2004

Administracion General Aduanas-Permiso de Importacion Temporal de
Vehiculos; 5/28/2004

Administracion General de Aduanas/Banjercito

Servicio Medico Forense Certificado de Autopsia

Photographs

Subject Vehicle Photographs of Mr. Michael Varat

Scene Photographs by Mr. Michael Varat

119 Police Subject Vehicle Photographs; Bates # 1586-000027 to 1586-
000145

15 Police Scene Photographs; Bates # 1586-000146 through 1586-
000160

4 Autopsy Photographs; Bates # 1586-000161 through 1586-00164

2000 Ford Excursion

Various other Vehicle Registration and maintenance Documents
‘Four-Wheeling’- Owner's Guide Supplement

 

 
Case 2:07-cv-00889-DGC Document 89-3 Filed 08/11/08 Page 18 of 47

— Qwner’s Guide Excursion 2000 Model Year

— Scheduled Maintenance Guide

— Passenger and Light Truck Tire Limited Warranty
— Roadside Assistance

Medical Records
- Affidavit of Translator-State of Texas
- Transfer of cadaver (Translation from Spanish)
- Secretariat of Health (Translation of Spanish)
- Medical Certificate
- Testimonial of Identification of Cadaver
- Chemical-Toxicological Examination
- Forensic Medicine Service —Autopsy Certificate

Depositions
- Joaquin de Santiago-Castillo, dd. 3/13/2008

- Beatriz de Santiago, dd. 3/13/2008
- Angel Juarez Moreno, dd. 3/13/2008

Additional Materials

~ Photographs, Notes and Measurements from Dagmar Jewkes’ Inspection
of subject vehicle 2000 Ford Excursion, taken on 3/24/2008.

~ Photographs, Notes and Measurements from Dagmar Jewkes’ Inspection
of exemplar vehicle 2000 Ford Excursion, with a female surrogate
measuring 5' 4” in height and 175 # weight, conducted dd. 4/23/2008

— Launch-speed, launch-angle, throw-distance and landing speed
calculations for the right front passenger.

Summary of Accident

On June 16, 2004, Mr. Angel Juarez Moreno was driving a 2000 Ford Excursion
in the slow lane of North-Bound National Road ‘Mexico-Ciudad Juarez’ road,
near Chihuahua, Mexico. His wife Mrs. Antonia de Santiago Castillo was seated
in the right front passenger seat, their three children were in the 3 row seat-
bench. Mr. Moreno’s sister-in-law Beatriz Moreno de Santiago was positioned in
the second row bench-seat with her four children. The left rear tire of the Ford
Excursion experienced a tread-separation. Mr. Moreno’s vehicle yawed
counterclockwise and moved across both lanes of travel, where it left the road
onto the median. The vehicle continued to yaw in the median, after which it
tripped into a roll until it came to rest on its wheels. Most of the occupants
received relatively minor injuries. However, Ms. Antonia de Santiago Castillo was
ejected from the vehicle and was found in the median immediately to the right of
the right front passenger door. Mrs. Castillo sustained fatal head and neck
injuries.

 
Case 2:07-cv-00889-DGC Document 89-3 Filed 08/11/08 Page 19 of 47

important Observations

scene Photos

The distance between two tire marks widened on the road-surface, narrowed
while in the median then widened again while furrowing prior to tripping in the
boulder covered area of the median. The vehicle came to rest on four wheels.
Ms. Antonia de Santiago Castillo was positioned in the median immediately to
the right of the right front passenger door, with her face, hair and neck covered in
blood.

Autopsy Report
The translated version of the autopsy report revealed that Mrs. Castillo sustained

a subdural hematoma over the right cerebrum and cerebellum. She also received
an exposed fracture of the jaw, which divided the osseous structure, and entailed
a severe basilar skull fracture from front to middle floor which separated the
sphenoid wings and sella turcica. A neck fracture was found at the C1-C2 level
with a luxation. She also sustained a bilateral sternal-clavicle connection fracture
with hemothoraces.

Mr. Michael Varat’s Accident Reconstruction

The vehicle had yawed approximately 110 degrees counterclockwise when it left
the roadway into the median. The Excursion continued to yaw to almost a full
rotation (360 degrees) before it tripped with its driver side leading. The vehicle
rolled over a distance of 31 feet, reflecting a total of one full roll. The vehicle
tripped at 21 to 23 mph, and the average roll-rate was approximately 200
degrees/second. The roll was lateral without any significant longitudinal
component to the vehicle loading.

The vehicle first impacted the driver-side of the roof deforming the roof toward
the passenger side, immediately after which the passenger side of the roof and
window frame struck the ground. The second impact was more significant.

Subject Vehicle Inspection

Exterior

There were virtually vertical scratch marks on the vehicle exterior, indicating a
lateral roll. No airbags were deployed, which is consistent with the lack of
longitudinal force components to the vehicle.

The roof was folded downward above the front passenger seat with a maximum
downward deformation of 8”. The right front passenger seat was approximately
1” forward of the full rear seating position with a seat-back angle of approximately
20 degrees.

There was no evidence of exterior vehicle impact with the right front passenger in
terms of hair, scuffs or dents.

 
Case 2:07-cv-00889-DGC Document 89-3 Filed 08/11/08 Page 20 of 47

Interior
No blood was found inside of the vehicle.

No scuffs or deformation was located on the right front passenger seat or
instrument panel.

The interior of the right front passenger door showed no obvious deformation.
However, the right front window-sill demonstrated scuffs and scratches.

The roof to right front passenger seat-bottom vertical space had been reduced
by 8 inches due to roof deformation. Contact marks were found on the right sun-
visor and surrounding the right roof-handle.

The right front passenger seat-belt had an adjustable D-ring that was found in the
lowest position. The belt was found in the stowed position and was functional.
The retractor locked with the automatic locking retractor and the emergency
locking retractor which was vehicle and webbing sensitive. The webbing was
slightly waved where the latch-plate was located on the webbing in stowed
position. The D-ring showed wear-marks though no burn-marks and had a print
of stationary webbing weaving on the D-ring. The latch-plate cover showed no
signs of usage in the accident.

Exemplar Vehicle and Surrogate Inspection

Measurements were taken of the exemplar right front passenger interior and
compared to those found in the subject vehicle. The measurements indicated
that the roof down ward deformation was approximately 8 inches.

The surrogate study revealed that the roof damage would not have been
sufficient to cause a compression of Mrs. Castillo's body. Furthermore, the
surrogate demonstrated that 8 to 11.5” additional belt-webbing would have been
needed to introduce any possibility of partial ejection when seat-belted.

Deposition of Mr. Angel Juarez Moreno
Mr. Moreno stated that his wife was not wearing her seat-belt and was ejected
from the vehicle.

Biomechanical Evaluation

Mrs. Castillo pressed against the right front passenger door during the
counterclockwise yaw motion prior to the roll. Mrs. Castillo’s pressure on the door
increased as the vehicle tripped into a driver-side leading roll. The first impact
with the driver-side roof was sufficient to break the right front passenger window.
The following impact with the passenger side roof and window-frame at 5/8 roll
caused Mrs. Castillo to move up and over the right window-sill and to be ejected

 
Case 2:07-cv-00889-DGC Document 89-3 Filed 08/11/08 Page 21 of 47

from the right front passenger windows, as she was not wearing her seat-belt.
She sustained her fatal head and neck injuries from the impact with the ground
post-ejection.

Mrs. Castillo would not have received any serious injuries had she worn her seat-
belt and remained inside the vehicle. The roof-crush above the right front
passenger seat was induced from a passenger-side loading, such that any head
contact that Mrs. Castillo might have had with the roof would have involved the
roof structure only, not the road. Such a head-roof impact causes significantly
lower forces and therefore low head injury risk.

Mrs. Castillo’s upper body orientation with respect to the right window-header
impact would not have been consistent with spinal injury causation.

Finally, partial ejection of Mrs. Castillo would have been unlikely, as the
surrogate study showed that approximately 9 to 11 inches of additional belt
webbing was required to enable partial ejection. The downward roof deformation
may have aided a seat-belt in preventing Mrs. Castillo to be partially ejected from
the right front passenger window.

Conclusion

Mrs. Castillo sustained her fatal injuries from head impact with the ground post-
ejection. She was ejected as a result of not wearing her seat-belt. It is more likely
than not that her injuries would have been minor had she worn her seat-belt.

The conclusions expressed in this report are based on the information provided.
If additional documentation should become available, | would like to have the
opportunity to amend my opinions and conclusions.

 

Dagmar Jewkes, Ph.D.

 
Case 2:07-cv-00889-DGC Document 89-3 Filed 08/11/08 Page 22 of 47

Dagmar Buzeman Jewkes, Ph.D.
Office Address:
599 McDade Street
Tyrone, GA 30290
Phone: (770) 632 1626
Email: dagmar@wer.com

 

EDUCATION
Fall 1995-1998

Fall 1990-1995

PhD in Injury Prevention/ Crash Safety: October 1998

Chalmers University of Technology, Department of Injury Prevention, Gothenburg, Sweden
Thesis Title: Car Compatibility in Frontal Crashes: New Methods to Determine the Influence of
Mass, Structure, Stiffness, and Geometry, and their interactions on Injuries.

Masters of Science in Biomechanical Engineering, July 1995

University of Technology Eindhoven, the Netherlands

Including courses and internships in chemistry, physics, anatomy, physiology, biochemistry, fluid
dynamics, constitutive properties of (biological) materials.

WORK EXPERIENCE

October 1998-
Present

November 1995-
October 1998

Summer 1996

Summer 1995

Summer 1994

Fall 1993

Fall 1994- 1995
Spring 93

Summer 91, 92

e Accident Reconstruction and Biomechanical Engineering, including:
Vehicle and scene inspections, crash test analysis, full scale crash testing, vehicle interior and
component measurements and testing, mathematical calculations and (MADYMO) simulations of
vehicle and occupant dynamics and kinematics, relationships between personal injuries and
accident loading conditions, research, deposition and trial testimony
Chalmers University of Technology, Department of Injury Prevention/Crash Safety, Sweden
e Ph.D. Student, conducting research on ‘Car Compatibility in Frontal Crashes’, using statistics,
crash testing and mathematical modeling to determine compatibility effects on occupant-injuries.
Included:
- Rigorous oral defense of thesis-work versus a panel of experts
- Collaboration with various car-manufacturers
- Oral presentations for several car-manufacturers and research institutions
- Teaching lectures in Biomechanics, Traffic Safety and Multi-Body Dynamics
- Providing MADYMO technical support for biomechanical research projects at Chalmers
- Oral and written applications for project funding from the Swedish National Road Administration
e Expert advisor to the European Enhanced Vehicle-Safety Committee (EEVC), Compatibility
Work Group.
e Courses in Advanced Calculus, Medicine, Advanced Statistics, Biomechanics, Epidemiology
Statistics and Accidental Injury
Collision Safety Engineering , Orem, UT
e Assisted in accident investigations, including scene and vehicle inspections
e Conducted a research project on (low-speed) rear-impacts, using MADYMO
TNO Crash-Safety Research Center/ TNO-MADYMO NA, Detroit MI
e Expert/Technical Support Engineer of the commercial occupant safety software MADYMO at the
new TNO-MADYMO North America office in Detroit, MI, USA
TNO Crash-Safety Research Center, Delft, the Netherlands
e Developed a Mathematical Model of the New TNO 18-months old Child Dummy in MADYMO
Japan Automobile Research Institute, Tsukuba City, Japan
e Internship: A Biomechanical Study on Knee-Injury Mechanisms During Lateral Impact, using
MADYMO
University of Technology Eindhoven, Netherlands Department of Mechanical Engineering
e Graduation research project: Developed a Finite Element Model of Porous Polymer Membranes.
e Internship: Studied brittle polymers to describe their mechanical behavior with a visco-elastic
fluid model.
e Processing and Automation Laboratory. Performed an Experimental Parameter-Study of the
Effect of Lubrication on Extrusion Processes.

 

 
Case 2:07-cv-00889-DGC Document 89-3 Filed 08/11/08 Page 23 of 47

TEACHING EXPERIENCE

March 2003
March 2001
April 2000

Fall 99-Spring
2002

December 1999

Presentation at SAE International Congress. Sessions: Occupant Injury
Presentations at SAE International Congress. Sessions: Occupant Injury, Compatibility

Chalmers University of Technology, Department of Machine and Vehicle Design, Gothenburg
Sweden. Invited guest lecturer in Advanced Traffic Safety

Brigham Young University, Department of Mechanical Engineering, Provo, UT

Senior Capstone Coach: supervisor of senior Mechanical Engineering students during an 8-months
industrial design and development project.

Project 1 (1999-2000): Sealing of a Slit-Cannula for use of catheter introducing.

Project 2 (2000-2001): Design and development of an electrical circuit breaker, using a bi-stable
compliant mechanism

Project 3 (2001-2002): Design and development of a constant-force compression spring using
compliant mechanism technology

SAE TOPTEC Accident Reconstruction. Invited speaker

March 1999 Presentations at SAE International Congress. Sessions: Occupant Injury, Compatibility
1995-1998 Chalmers University of Technology, Department of Injury Prevention, Gothenburg Sweden
Guest lectures in Biomechanics, Traffic Safety and Multi-body Dynamics
University of Technology Eindhoven, the Netherlands

Spring 1995 * Teaching assistant Electronic Circuits
Spring 93, 94 ° . Control Engineering |
a tooo ° , Control Engineering 11

all 1992 e 7 Mechanical Sketching

COMPUTER EXPERIENCE

Operating Systems: DOS, UNIX
Data Acquisition Programs: TrackEye, Diadem, Igor

Pro

Mathematical Programs: MATLAB

Finite Element Software: MADYMO
Biomechanical Modeling: MADYMO, Dynaman

Accident Reconstruction Software: PC-Crash, Crash3,
Edsmac

CAD Programs: Microstation 95

ACTIVITIES

Family, church, biking, running, swimming, tennis, skiing, singing, flying

 

References Available Upon Request

 
Case 2:07-cv-00889-DGC Document 89-3 Filed 08/11/08 Page 24 of 47
RESEARCH PUBLICATIONS

Jewkes, D. B. (2003) Vehicle Acceleration and Compartment intrusion for Far-Sided
Occupants v. Near-Sided Occupants in Frontal Offset Collisions. SAE Paper No. 2003-01-
0159. Presented at the SAE International Congress, March 2003, Detroit, MI.
Buzeman-Jewkes, D., Thomson, R.W., and Viano, D.C., "Crash Compatibility."

Chapter 28 in Crashworthiness: Energy Management and Occupant Protection, edited

by Jorge Ambrosio, C/SM Courses and Lectures No. 423, International Centre for
Mechanical Sciences, Springer Verlag, New York, ISBN 3-211-83334-X, pp 447-463,
2001.

Asay, A. F.; Jewkes, D. B.; Woolley, R. L. (2002) Narrow Object Impact Analysis and
Comparison with Flat Barrier Impacts. SAE Paper No. 2002-2B-0069. Presented at SAE
International Congress, March 2002. Detroit, MI

Jewkes, D. B. (2001) Reconstruction of Accident Severity in a Multiple Vehicle Collision.
SAE Paper No. 2001-01-1283. Presented at SAE International Congress, March 5-8, 2001.
Detroit, MI.

Woolley, R. L.; Asay, A. F.; Jewkes, D. B.; Monson, C. (2000) Crash Testing With A
Massive Moving Barrier As An Accident Reconstruction Tool. SAE Paper No. 00B-159.
Presented at SAE International Congress, March 6-8 2000, Detroit, MI.

Jewkes, D. B. (1998) Car Compatibility in Frontal Crashes: New Methods to Determine the
Influence of Mass, Structure, Stiffness and Geometry, and their Interactions. Thesis for the
Degree of Doctor of Philosophy. Chalmers University of Technology, Gothenburg, Sweden.
Jewkes, D. B.; Viano, D. C.; Lévsund, P. (1999) Safety of a Downsized Vehicle Fleet:
Effects of Mass Distribution, Impact Speed and Inherent Protection in Car-to_Car Crashes.
SAE Paper No. 1999-01-0074 in Proc. SP-1442. Presented at SAE Int. Congress, March 1-
4 1999, Detroit, MI.

Buzeman-Jewkes, D. G.; Viano, D. C.; Lovsund, P. (1999) A Multi-body Integrated Vehicle-

_ Occupant Model for Compatibility Studies in Frontal Crashes. Journal of Crash Prevention

and Injury Control Vol. 1:2

Buzeman-Jewkes, D. G.; Viano, D. C.; Lovsund, P. (1999) Use of Repeated Crash-Tests to
Determine Local Longitudinal and Shear Stiffness of the Vehicle Front with Crush. SAE
Paper No. 1999-01-0637 in Proc. SP-1432. Presented at SAE Int. Congress, March 1-4
1999. Detroit, MI.

Buzeman-Jewkes, D. G.; Viano, D. C.; Lévsund, P. (1999) Occupant Risk, Partner Risk
and Fatality Rate in Frontal Crashes: Estimated Effects of Changing Vehicle Fleet Mass in
15 Years. Journal of Crash Prevention and Injury Control Vol. 2:1

Buzeman, D. G.; Viano, D. C.; Lévsund, P. (1998) Car Occupant Safety in Frontal Crashes:
A Parameter-study of Vehicle Mass, Impact Speed and Inherent Vehicle Protection.
Accident Analysis and Prevention Vol. 30:6

Buzeman, D. G.; Viano, D. C.; Lovsund, P. (1998) Injury Frequency and Risk in Frontal
Crashes: The Effect of Sorting Techniques on Priorities for Offset Testing. Accident
Analysis and Prevention Vol. 30:3

Buzeman-Jewkes, D. G. (1998) Local Longitudinal and Shear Stiffness of the Vehicle
Front, and Vehicle Responses in Repeated and High-Speed Crash-Tests. /nternal Report
1998-08-17. Chalmers University of Technology, Gothenburg, Sweden.

Buzeman, D. G. (1997) Car-to-Car and Single Car Crash Compatibility: The Individual
Effects of Mass, Structure, Stiffness and Geometry. Thesis for the Degree of Engineering
of Licentiate. Chalmers University of Technology, Gothenburg, Sweden.

 
Case 2:07-cv-00889-DGC Document 89-3 Filed 08/11/08 Page 25 of 47
DEPOSITION & TRIAL EXPERIENCE

Case Name
Dickman v. Campbell

Smith v. Burgener

McKenzie v. Turner Landscape
McKenzie v. Turner Landscape
Johnson v. Moomey

Herbas v. USA Postal Service
Kostopoulos v. Pierce

Archer v. National Freight, Inc.
Archer v. National Freight, Inc.
Owens v. Dick Simon

Pierce v. Market et al.

Kadre v. Bridgestone/Firestone
Fullerton v.
Bridgestone/Firestone

Walton v. Bridgestone/Firestone
Cleminson v.

Bridgestone/Firestone

FEE SCHEDULE 2007
Case Work

Trial/Deposition Testimony

Date
03/10/99

06/29/99
01/06/00
01/12/00
08/07/01
11/05/01
04/16/03
08/22/03
10/03/03
9/17/04
4/26/05
1/19/06
2/15/07

11/14/07

03/20/08

Testimony
Deposition

Trial
Deposition
Trial
Deposition
Deposition
Deposition
Deposition
Deposition
Deposition
Deposition
Deposition

Deposition

Deposition

Deposition

Court
Utah State

Utah State
Arizona State
Arizona State

Wyoming State
Utah Federal
Illinois State

California State

California State

Utah State

Illinois State
California State
South Carolina
State

Arizona State

South Carolina

Federal

$250/hr
$250/hr

City
Salt Lake City, UT

Provo, UT
Phoenix, AZ
Phoenix, AZ

Cheyenne, WY
Salt Lake City, UT
Chicago, IL
Auburn, CA
Auburn, CA
Salt Lake City
Chicago, IL
Los Angeles, CA
Charleston, SC

Phoenix, AZ

Beaufort, SC

Party
Plaintiff

Plaintiff
Plaintiff
Plaintiff
Plaintiff
Defense
Defense
Defense
Defense
Plaintiff
Defense
Defense

Defense

Defense

Defense

 
Case 2:07-cv-00889-DGC Document 89-3 Filed 08/11/08 Page 26 of 47

PRESENT
EMPLOYMENT:

HOME ADDRESS:

EDUCATION:

COURSES &
SEMINARS:

PROFESSIONAL

ORGANIZATIONS:

PUBLICATIONS:

PATENTS:

EMPLOYMENT:

CURRICULUM VITAE OF
JOSEPH L. GRANT

Independent Tire Analyst

4201 Moss Creek Court
Matthews, North Carolina 28105
Phone 704 617 0336

Bachelor of Science in Mechanical Engineering — June, 1971
Fenn College of Engineering, Cleveland State University

* Tire Society Symposium

¢ Akron Rubber Group

* Clemson University Tire Industry Conference (October, 1985 and 1986)

* Monsanto Rubber Technology Seminar (May, 1989)

* SAE Motor Vehicle Accident Reconstruction and Cause Analysis
(March, 1993)

¢ International Tire Exposition and Conference

* Northwestern University Traffic Institute Accident Investigation
(March, 1997)

* STL Trans Tech Tire Technology Seminar — 1999

* Society of Automotive Engineers
¢ Akron Rubber Group
* Rubber Manufacturers' Association
Chairman - Truck Bus Tire
Engineering Committee (1986-1992)
* Tire & Rim Association
¢ The Maintenance Council of the American Trucking Association
¢ American Society of Mechanical Engineers

' ¢ Tire Industry Association

« American Chemical Society

"What makes a High Performance Tire Different than a Regular Tire" :
Jan. 1986 - Akron Rubber Group
Oct. 1986 - Clemson University Tire Industry Conference
April 1987 - American Retreading Association

“Rim Line Grooves as an Indicator of Underinflated or Overloaded Tire
Operation in Radial Tires”
September 2004 - ITEC

Method of Forming Belted Radial Tires from a Cylindrical Tire Band
(1977)

- June 1971 — Dec. 1994 The General Tire & Rubber Company

 
Case 2:07-cv-00889-DGC Document 89-3 Filed 08/11/08 Page 27 of 47

POSITIONS:

* June, 1971

* October, 1972

* October, 1978

* April, 1980

« March, 1987

* September, 1988

* January, 1993

* January, 2006

CURRICULUM VITAE OF
JOSEPH L. GRANT

- Jan., 1995 — April 2000 Continental General Tire, Inc.
- May 2000 — Dec. 2005 Continental Tire, North America, Inc.
- Jan. 2006 — Present Independent Tire Analyst

Engineering Trainee, Tire Technology Department, Akron Tire
Manufacturing Plant (Akron, Ohio).

Project Engineer, Advanced Tire Development.

Responsible for the Development of Advanced Concept Tire Products,
including Fiberglass Belted Radial Passenger Tires and Advanced Bias Truck
Tires (Akron, Ohio).

Manager, Bias Passenger Car Tire Engineering Technology.
Responsible for the Engineering Development Group for Bias Passenger
Tires (Akron, Ohio)

Manager, Replacement and Private Brand Passenger Car Tire Engineering
Technology.

Responsible for the Engineering Development Group for Bias and Radial
Passenger Tires (Akron, Ohio).

Section Manager, Radial Truck Tire Engineering.
Responsible for the Engineering (Construction and Mold Design)
Development Group for Radial Truck Tires (Akron, Ohio).

Director, Commercial Tire Technology.

Responsible for the Engineering (Construction and Mold Design) and
Compound Development Groups for Commercial Products, including Bias
and Radial Medium and Heavy Service Truck Tires and Giant, Farm and
Industrial Tires (Akron, Ohio, September 1988 - March 1992) (Mt. Vernon,
Illinois, April 1992 - December 1992).

Director, Product Analysis.

Responsible as company-wide consultant to assist other Departments on the
subject of Tire Failure Analysis, Tire Performance Standards, and Safety
Literature (Akron, Ohio, January 1993 - October, 1995) (Charlotte, North
Carolina, November 1995 — January 2006).

Independent Tire Analyst

 
Case 2:07-cv-00889-DGC Document 89-3 Filed 08/11/08 Page 28 of 47

JOSEPH L. GRANT

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

DEPOSITION AND TRIAL LIST
NAME TRIAL DEPO LOCATION
Akin N/A 04 New York, New York
Aldrich N/A 04 Charlotte, NC
Barcenas N/A 04 Chicago, Illinois
Barrios N/A 03 Oakland, CAL.
Becerra, Jesus N/A 03 Akron, OH
Bivins N/A 05 Dallas, Texas
Bloomer, Debra N/A 07 Akron, Ohio
Boles 06 Greenville, SC
07 (2) Columbia, SC
Boren N/A 04 Charlotte, NC
Bradley N/A 07 Charlotte, NC
Brzobohaty N/A 03 Akron, Ohio
Chauvin N/A 03 Akron, Ohio
Church, Maria N/A 03 Charlotte, NC
Clayton N/A 03 Akron, Ohio
Coffin, Geoffrey N/A 03 Akron, Ohio
Contreras N/A 06 Akron, Ohio
Cooper N/A 05 Los Angeles, CA
Carlos N/A 06 Charlotte, NC
Cunningham N/A 05 Greenville, SC
Crane N/A 04 San Francisco, CAL.
Cruz, Catalina N/A 06 Charlotte, NC
De LaVina N/A 04 Charlotte, NC
DeZerpa N/A 04 Charlotte, NC
Diaz N/A 06 Dallas, TX
Elbayoumy 06 Kansas City, MO
06 Charlotte, NC
Esperquerta N/A 05 & 06 Los Angeles, CAL
Easterling N/A 07 Akron, Ohio
Fullerton N/A 06 Akron, OH
Garcia, Cindy N/A 03 Akron, OH
Groessl, Laura N/A 04 Charlotte, NC
Hale, Eula N/A 04 Charlotte, NC
Harris, Charles N/A 06 Akron, OH
Harth N/A 05 Charlotte, NC
Hartman N/A 06 Greenville, SC
Hernandez 06 Marfa, Texas
04 Charlotte, NC
05 Houston, Texas
Hill N/A 06 Los Angeles, CAL.
Hutton N/A 03 Akron, OH
Janssen N/A 06 Charlotte, NC
Jones, Bowling N/A 03 Charlotte, NC
Kadre N/A 06 Los Angeles, CAL
Kotansky N/A - 03 Los Angeles, CAL.
Lawrence N/A 05 Akron, OH
Lopez, V. N/A 07 Houston, TX
Lucero N/A 05 Charlotte, NC
Los Angeles, CAL.

 

 

 

 

 

 

 
Case 2:07-cv-00889-DGC Document 89-3 Filed 08/11/08 Page 29 of 47

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

NAME TRIAL DEPO LOCATION
Lugo N/A 05 Austin, TX
McCaskill N/A 03 Charlotte, NC
05 N/A Greenwood, Mississippi
McCool, Rachel N/A 03 Charlotte, NC
McFadden N/A 06 West Palm Beach, FL
Means N/A 05 Akron, Ohio
Moore, Bertha N/A 04 Akron, Ohio
Moya (Bellorin) N/A 03 Houston, TX
O'Brien, Rita N/A 03 Charlotte, NC
Pantuso / Jones N/A 04 Charlotte, NC
| Patterson/Gonzales N/A 03 Charlotte, NC

Pesina N/A 06 Austin, TX
Piard N/A 07 Philadelphia, PA
Pitts N/A 06 Oakland, CAL.
Ramirez v. Enterprise N/A 04 Houston, TX
Rocco N/A 06 Los Angeles, CAL.
Rodriguez, Jesus V. N/A 03 Akron, Ohio
Rodriguez, Martha N/A 04 Akron, OH
Rodriguez, Robertina N/A 04 Akron, OH
Rosenthal N/A 05 Akron, Ohio
Ruiz (Bellorin) N/A 03 Houston, TX
Ruiz N/A 06 Akron, OH
Reyes N/A 07 Charlotte, NC
Ryvkin 06 06 Akron, OH
Sanchez N/A 04 Charlotte, NC
Satterwhite N/A 06 Orlando, FL
Schifo N/A 04 Charlotte, NC
Smith, Eric N/A 05 Charlotte, NC
T.A.Taylor N/A 03(2) Charlotte, NC
Taylor, Robert 04 Miami, FL

04 Charlotte, NC
Thompson, Paul N/A 07 Akron, OH
Townsel N/A 06 Akron, OH
Tungate N/A 03 Akron, OH
Tyler, Edna N/A 03 Charlotte, NC
Underwood N/A 06 Akron, OH
Valera N/A 04 Coral Gables, FL
Vaquero N/A 06 Los Angeles, CAL.
Vaughan 05 Ocala, Florida

04 Charlotte, NC
Vasquez N/A 04 Los Angeles, CAL.
Venegas (Bellorin) N/A 03 Houston Texas
Vigil N/A 06 Austin, TX
Wakehouse N/A 07 Charlotte, NC
Walsh N/A 04&05 Charlotte, NC
Ward-Lowery N/A 06 Akron, Ohio
Wemer N/A 07 Akron, Ohio
Wiest N/A 05 Akron, OH
Wiles N/A 05 Austin, TX
Williams, Ema 04 04 Pittsburgh, PA

 

 

 

 
Case 2:07-cv-00889-DGC Document 89-3 Filed 08/11/08 Page 30 of 47

JOSEPH L. GRANT GENERAL REFERENCE LIST of MATERIALS

OVER MY CAREER, AS PART OF MY TRAINING AND EXPERIENCE, | HAVE REVIEWED AN
EXTENSIVE NUMBER OF PUBLICATIONS, TEST RESULTS, ARTICLES AND VARIOUS OTHER
LITERATURES RELATED TO TIRE PERFORMANCE ISSUES. THE LIST BELOW IDENTIFIES A
SAMPLE OF THE MATERIALS THAT | HAVE BEEN EXPOSED TO AND REVIEWED. THE
ACTUAL EXTENSIVE LIBRARY OF MATERIALS THAT | HAVE BEEN EXPOSED TO AND
REVIEWED IS FAR GREATER THAN THIS LIST

The Tire and Rim Association Yearbooks

Bennitt Garfield, Who Makes it? And Where? Directory (Annual)

Bennitt Garfield, OE Tire Size Guide (Annual)

Bennitt Garfield, Tire Guide (Annual)

Bennitt Garfield, Tread Design Guide (Annual)

The Tire Technology Conference, October 28-29, 1986, Clemson University -

What Makes a High Performance Tire Different Than a Regular Tire?

RMA Poster - Inspection Standards for Radial Passenger Tire Casings

The Maintenance Council (TMC) - Recommended Maintenance Practices Manual

9. Radial Tire Conditions Analysis Guide, A Comprehensive Review of Tread Wear

and Tire Conditions

10. ASTM Designation: E 860 - 82 (Reapproved 1991) - Standard Practice for
Examining and Testing Items That Are Or May Become Involved In Products
Liability Litigation

11. Tire Examination Following Accidents, Topic 825 of the 7raffic-Accident

_Investigation Manual

12. ARA Module 1: Basic Tire Construction

13. Pamphiet re: A Look Inside re: size designations, types of tires, common
ingredients, and advantages & disadvantages

14. ITEC 1994, Paper #14A/B - Tire Dynamic Properties in the 90’s: Making Vehicles
Perform

15. SAE Technical Paper Series, 820814 - The Distribution of the Inflation Forces on
the Structural Members of a Radial Tire

16. Engineering with Rubber, How to Design Rubber Components

17. Rubber Technology

18. SAE SP-729, Heavy Duty Truck Tire Engineering, Thomas L. Ford and Fred S.
Charles, 1988

19. SAE Paper “The Magic of the Drag Tire” 942484;

20. Mechanics of Pneumatic Tires, US Department of Transportation, National
Highway Traffic Safety Administration, Samuel K. Clark

21. The Vanderbilt Rubber Handbook, Thirteenth Edition, R.T. Vanderbilt Co. 1990

22. Materials Science in Engineering

AMR WN >

oN

 
23.
24.
25.

26.
27.
28.
29.
30.
31.
32.
33.
34.

35.

36.
37.
38.
39.
40.

41.

42.
43.
44.

45.

46.
47.
48.
49.
50.
51.
52.
53.
54.

» 55.

Case 2:07-cv-00889-DGC Document 89-3 Filed 08/11/08 Page 31 of 47

Vulcanization and Vulcanizing Agents

The Essential Rubber Handbook, David Cooper

“Fractography and Failure Mechanisms of Polymers and Composites” by J. W.
Daws of Exponent Failure Analysis Associates - Rubber & Plastics News, January
12, 2004

“Fractography Aids Study of Tire Tread Separations” by J. W. Daws

Engineering with Rubber, How to Design Rubber Components

Fundamentals of Vehicle Dynamics, SAE, Thomas D. Gillespie, 1992

Motor Truck Engineering Handbook

Tires, Suspension and Handling, Second Edition, John Dixon, 1996
Understanding How Components Fail, Donald J. Wulpi, 1987

Scanning Electron Microscopy and X-Ray Microanalysis, Third Edition, 2003
The Racing & High Performance Tire, SAE, Paul Haney, 2003

RMA Tire Information Service Bulletin, August 1986, Vol. 10 / No. 3 - RMA Snow
Tire Definition for Passenger and Light Truck (LT) Tires

RMA Tire Information Service Bulletin, September 1999, Vol. 38 / No. 1 -
Replacement Tires for Light Truck-Type Vehicles

“Tire Inflation Pressure and Temperature” - independent research

NHTSA, DOT §575.104 - Uniform Tire Quality Grading Standards

NHTSA, DOT §571.109 - Standard No. 109; New pneumatic tires

NHTSA, DOT §571.110 - Standard No. 110; Tire selection and rims

NHTSA, DOT §571.119 - Standard No. 119; New pneumatic tire for vehicles
other than passenger cars

NHTSA, DOT §571.120 - Standard No. 120; Tire selection and rims other than
passenger Car tires

49 CFR Ch. V, Part 570 - Vehicle in Use Inspection Standards

NHTSA, DOT §569 - Part 569 - Regrooved Tires

SAE J1561, Feb. 2001 - Surface Vehicle Recommended Practice, (R) Laboratory
Speed Test Procedure for Passenger Car Tires

Regulation No. 30 - Uniform Provisions Concerning the Approval of Pneumatic
Tyres [sic] for Motor Vehicles and Their Trailers

RMA Tire Care and Safety Guide (6/01)

RMA Motorist’s Tire Care and Safety Guide (1/94)

Car & Travel, March 2000 - Add 10,000 Miles to Your Tires

Michelin Web Site - Lesson 5: Tire Safety Guidelines

Michelin - Passenger & Light Truck Tire Owner’s Manual & Limited Warranty
Car Care Council, Spring/Summer 1999 - Is Your Vehicle Ready for Vacation?
Dr. Traffic, September 24, 2000 - Treat your tires like good friends

AAA Go Magazine, March/April 2000 - Never Tire of Learning About Tires
Owner Operator, Nov/Dec 1989 - For Safety’s Sake, Protecting yourself from a
blowout

Tire Industry Safety Council - New Consumer Tire Guide (9/82)

 
56.
57.
58.
59.

60.
61.
62.
63.
64.
65.
66.
67.

68.
69.
70.
ran
72.
73.
74.
75.

76.

77.
78.

79.

80.

81.

82.

83.
84.

Case 2:07-cv-00889-DGC Document 89-3 Filed 08/11/08 Page 32 of 47

Tire Industry Safety Council - Consumer Tire Guide (4/77, 2/78)

RMA - Care and Service of Automobile and Light Truck Tires (8/87)

Tire Industry Safety Council —- Recreational Vehicle Consumer Tire Guide, 1985
RMA Care and Service of Automobile Tires With Special Recreational Vehicle Tire
Section (1/77)

Tire Industry Safety Council - Consumer Tire Guide, 1973

Tire Industry Safety Council - Recreational Vehicle Consumer Tire Guide, 1973
Shell - Smart Car Care, Tips for keeping your vehicle safe and on the road.

BFS - Inflate. Rotate. Evaluate. How to maintain your tires (10/00)

General Motors - Tire Safety. What GM does; what you can do

General Motors - Tire Performance Criteria

RMA - Care and Service of Automobile and Light Truck Tires (9/95)

RMA - Tire Information Service Bulletin, September 1999, Vol. 3, No. 2 - Tire
Explosions

RMA Poster ~ Demounting and Mounting Procedures for Automobile and Light
Truck (LT) Tires That Are Used on Single Piece Rims (7/95)

RMA Tire Publications Catalog

RMA Tire Publications Order Form

Ford Explorer Owner Guide (1993)

Texas Drivers Handbook (March 2000)

The New York Times, December 14, 2001 - America’s Tires: Worn Down,
Overlooked and Underinflated

CNN.com Web Site, August 29, 2001 ~ Study: Underinflated tires a widespread
hazard

DOT Web Site - NHTSA 46-01 - Many U.S. Passenger Vehicles Are Driven on
Under-inflated Tires, NHTSA Research Survey Shows

USDOT, August 2001, DOT HS 809 317 - Research Note, Tire Pressure Special
Study Vehicle Observation Data

USDOT - Tire Pressure Special Study, Data Documentation

USDOT, August 2001, DOT HS 809 316 - Research Note, Tire Pressure Special
Study: Methodology

USDOT, August 2001, DOT HS 809 316 - Research Note, Tire Pressure Special
Study: Interview Data

USDOT, August 3, 2001, Memorandum - Subject: Preliminary Analysis of
Findings, 2001 NASS Tire Pressure Special Study

NCSA, May 4, 2001 - Preliminary Analysis of Findings - 2001 NASS Tire Pressure
Study

RMA Web Site - Tire Safety / Tire maintenance & Safety / Tire and Auto Safety
Facts

Tire Business, April 29, 2002 - RMA kicks off ‘tire safety week’

National Tire Safety Week, April 29-May 3, 2002

 
Case 2:07-cv-00889-DGC Document 89-3 Filed 08/11/08 Page 33 of 47

85.

86.
87.
88.
89.

90.

91.

92.
93.
94.

95.
96.
97.
98.
99.
100.
101.

102.
103.

104.

105.

106.

107.
108.

109.
110.

Consumer Tire Maintenance and Safety Awareness Research in the Southwest - A
Report to: RMA, June 2001

Frederick polls - Poll Summary U.S. Overview

RMA “Be Tire Smart, Play Your Part”

Frederick polls - Poll Results Among Adult Drivers Nation wide

Compression Grooving as an Indicator of Over-Deflected Operating Conditions in
Tires, Standards Testing Labratories, Inc., Schnuth, Fuller, Follen, Gold, June
1997

Compression Grooving and Rim Flange Abrasion as Indicators of Over-Deflected
Operating Conditions in Tires, Standards Testing Laboratories, Inc., Schnuth,
Fuller, Follen, Gold, Smith, October 1997

Effects of Over—Deflection on the Tire/Rim Interface, Standards Testing
Laboratories, Inc., Schnuth, Smith, Bolden, Flood, September1998

Tire Safety Survey, March 22, 1999

TMC - Tire Repair Failure Analysis

Videos - Tech: RT-3, C - Tube Repair, H - 2 Piece Repair, B - 250 & 251 Uni-Seal
Repair, | - Radial Seal Repair; Tech Tire Repair Video, POWS 8274, and Tech
International/Sears 2000, Uni-Seal Ultra Repairs RT-7

Tire Business, October 28, 1996 - Pull the plugs, lawyer urges

Tire Business, November 11, 1996 - If outside-in plug repairs unsafe, then why
are they still on market?

RMA Poster - Puncture Repair Procedures for Automobile Tires

RMA Poster ~ Puncture Repair Procedures for Automobile and Light Truck Tires
RMA Poster - Truck Tire Puncture Repair Procedures, 1995

RMA Retreading & Repairing Shop Bulletins index

Technically Speaking, November 1, 1995, Vol 17 /Issue 1 - Upper Sidewall Over
Buff

Tech Tire Repairs - Two-Piece Radial Repair Method Instructions

Tire Technology International 2001, The Annual Review of Tire Materials and Tire
Manufacturing Technology

Road Hazard Impact Test for Wheel and Tire Assemblies (Passenger Car, Light
Truck, and Multipurpose Vehicles), SAE J1981, June 1994

SAE 940534 - Development of the SAE J1981 Road Hazard Impact Test for Wheel
and Tire Assemblies

RMA Tire Information Service Bulletin, July 1985, Vol. 23/No. 1 - Tire Storage
Recommendations

ITRA Journal, October 2001, Vol. 45, Issue 10 ~ How Much is Too Much Cracking?
RMA Comments, September 6, 2001 - Notice of Proposed Rulemaking FMVSS:
Tire Pressure Monitoring Systems; Controls and Displays

USDOT, OSHA 3086 - Servicing Single-Piece and Multi-Piece Rim Wheels

RMA Poster - Demounting and Mounting Procedures for Automobile and Light
Truck (LT) Tires That Are Used on Single-Piece Rims

 
Case 2:07-cv-00889-DGC Document 89-3 Filed 08/11/08 Page 34 of 47

111. RMA Poster - Replacement Guide for Passenger Car Tires

112. RMA Replacement Guide for Passenger Car Tires (2 copies - 7/95 and 12/92)

113. RMA Statement re: Nylon Cap Plies

114. Michelin - A Guide to Speed Ratings

115. Goodyear Web Site - Announcements: Talking Points/Messages Proactive Tire
Replacement for some LR-E tires Specific to 15 Passenger Vans

116. Goodyear Web Site - Goodyear Responds to Set Record Straight On Misleading
Reports

117. Goodyear Web Site - Load Range E Tire Background Information

118. Goodyear Web Site - Dear Goodyear Customer (November, 2000)

119. Goodyear Pamphlet “7he Comp/ete Tire Safety Guide”

120. RMA Tire information Service Bulletin, June 1989, Vol. 25/No. 4 - Speed Ratings
for Passenger Car Tires

121. Tire Disablements and Accidents On High-Speed Roads, Traffic Institute,
Northwestern University, J. Standard Baker, G. Declan Mcllraith

122. Anatomy of Accidents Following Tire Disablements, SAE 1999-01-0446, Ernest
Z. Klein, Thomas L. Black, 1999

123. The Role of Tread/Belt Detachment in Accident Causation, [TEC 1998, James
Gardner

124. The Microscopy of Catastrophic Tire Failures

125. The Role of Blowouts in Accident Causation, ASME 87-WA/SAF-4, James Gardner,
Christopher G. Shapley

126. Tractor Trailer Skid Marks Generated Under Controlled Test Conditions

127. Controlled Skid Studies Illustrating Tire Marks Generated By Radial Tires

128. Drag and Steering Effects from Tire Tread Belt Separation and Loss, SAE 1999-
01-0447, Fay Robinette, Smith, Flood, Bolden

129. Techniques For The Reconstruction Of Rollover Accidents Involving Sport Utility
Vehicles, Light Trucks and Minivans

130. The Effect of Tire Characteristics on Vehicle Handling and Stability

131. Properties of Passenger Car Tires with Tread Detachment

132. The Traffic-Accident Investigation Manual, Ninth Edition, Northwestern
University Traffic Institute, J. Stannard Baker, Lynn B. Fricke, 1986

133. Motor Vehicle Accident Reconstruction and Cause Analysis

134. Investigation of Motor Vehicle Fires, Fourth Edition, Lee S. Cole, 2001

135. “TMC Task Force Readies Tire Inflation Campaign.” Tire Business, September 30,
1996

136. Liner Pattern Analysis - Photographs of Various Competitors Tires

137.  Innerliner Splice Analysis - Photographs of Various Competitors Tires

138. Process Marks - Photographs of Michelin Tires

139. Examples of Worn Out Tires with Cord Shadowing on Innerliner

140. Examples of Tires with Nylon Cap Ply/Strips that have experienced Tread and
Top Steel Belt Detachments

 

 
Case 2:07-cv-00889-DGC Document 89-3 Filed 08/11/08 Page 35 of 47

141. Video of Instrumented Vehicle demonstrating tread and top steel belt
detachment

142. Uniform Tire Quality Grading Treadwear - Rim Groove Photographs

143. “Fractography of Tire Tread Separations” by J.W. Daws, Exponent Failure Analysis
Associates

144. “The Effect of Snaked Belt Anomalies on Tire Durability” by Harold J. Herzlich of
Herzlich Consulting, Inc.

145. “Belt Misalignments and Belt/Belt Tear Patterns” by Harold J. Herzlich of Herzlich
Consulting, Inc.

146. “The Influence of Storage Humidity and Sulfur Bloom Upon Tack and Vulcanized
Peel Force in Tire Belt Skim” by B.D. Lambillotte of Smithers Scientific Services,
Inc.

147. “A Wax Bloom Study in Natural Rubber Compounds” by Krishna C. Baranwal of
Akron Rubber Development Laboratory, Inc.

148. “Analysis of Migratory Species in Vehicle Tires” by James D. Rancourt, Ph.D. and
Jason G. Todd of Polymer Solutions Incorporated

149. 9th Tyre Survey - Worldwide Majors by Exxon Mobil Chemical

150. “SEM/EDX Analysis of Moisture-Aged Steel cord” by Jerry J. Leyden of Akron
Rubber Development Laboratory, Inc.

151. “Analysis of Steel Cord-Rubber Interface by SEM/EDX Controlled Experiments” by
Jerry J. Leyden of Akron Rubber Development Laboratory, Inc.

152. DOT HS 809 523 - “Investigation of Driver Reactions to Tread Separation
Scenarios in the National Advanced Driving Simulator (NADS)

153. RMA Memorandum Dated March 23, 2000 Re: VA Dept of State Police, Need for
Standards for Recapped Tires, House Document No. 24

154. “Effect of Intra~carcass Pressure Buildup on Tubeless Tire Performance” by S.A.
Banks, F. Brzenk, J.A. Rae and C.S. Hwa.

155.  Costemalle, B., “Tire Pressure Loss and Intra~carcass Pressure Modeling,” ire
Science and Technology, TSTCA. Vol. 20. No. 4. October-December, 1992. pp.
200-211

156. . F. Lux and H. Strumpf, “Light-Weight Tire Concept” Tire Science and
Technology, TSTCA. Vol. 24. No. 2. April-june, 1996. pp. 119-133

157. USDOT, October 2001, DOT HS 809 359 - Research Note, Tire Pressure Special
Study: Tread Depth Analysis

158. NHTSA 61-01 - Many U.S. Passenger Vehicles Are Driven on “Bald Tires”, NHTSA
Research Survey Shows

159. NHTSA Web Site - Rollover

160. NHTSA “Analysis of FARS and Exposure Data between 1982 and 2002”, March 30,
2004

161. DOT HS 809 361 ~ “Tire Safety, Everything Rides On It”

162. Newspaper Article - ‘Astronomical’ pothole epidemic is the pits”, USA Today,
March 11, 1994

 
Case 2:07-cv-00889-DGC Document 89-3 Filed 08/11/08 Page 36 of 47

163. Tire Technology International 2001 article on Impacts Simulations by STL.

164. ITEC 2004, Paper 45D - “Rim Line Grooves as an Indicator of Underinflated or
Overloaded Tire Operation in Radial Tires” by Joseph L. Grant

165. ITEC 2004 ~ “Abnormal Wear” by Jean-Claude Brico.

166. ITEC 2004 - “Bead Compression Grooving: Characteristics and Influence of Tire
Deflection” by Jean Claude Brico.

167. ITEC 2004 - “Nature’s Remnants in Natural Rubber” by James D. Rancourt, Ph.D.

168. ITEC 2004 ~ “Do Liner Patterns Affect Tire Performance” by James D. Rancourt,
Ph.D.

169. ITEC 2004 — “Component Interfacial Tearing Appearances” by Gary Bolden.

170. Traffic Collision Investigation, Chapter 8, 2001.

171. [TEC 2004 - “Innerliners and Tire Durability’ by Donald S$. Tracey and Walter H.
Waddell. Exxon Mobil Chemical Company.”

172. TIA 2005 - “Passenger & Light Truck Tire Conditions Manual.”

173. The Pneumatic Tire, edited by A. N. Gent and J. D. Walter, Published 2005 by the
National Highway Traffic Safety Administration.

174. RMA, May 9, 2006 “Tire Service Life: Results from an RMA Study of Scrap Tires.”

175. 2005 paper by Standards Testing Labs, “Impact Simulations-What happens when
a tire/wheel impacts a road hazard”.

176. NHTSA Publication “What’s Your PSI ~ A Short Quiz to Test Your Knowledge of
Tire Safety”.

177. NHTSA Poster “Underinflated Tires Can Lead to Disaster’.

178. Continental Tire Product Service Information Bulletin PSIB 05-01 “Tire Repair for
Passenger Car and Light Truck Tires”

179. Bridgestone/Firestone Technical Bulletin October 2005, Ref. No. P-05-10 “Tire
Inspection Guidelines”

180. ETRTO Recommendations on Tyre Service Life - 2005

181. RMA June 10, 2005 letter to NHTSA Regarding Docket No. NHTSA-2005-21276

182. Michelin Technical Bulletin, February 9, 2006, “Service Life for passenger Car and
Light Truck Tires including Spare Tires”

183. RMA Statement, 9-14-04 “Tire Service Life for Light Vehicle Tires”

184. GM statement on Tire Aging

185. Ford Statement on Tire Aging

186. “Structural Impact Damage Under Varying Laboratory Conditions” by Gary Bolden
of STL, ITEC 2006.

187. “Structural Impact Damage Under Varying Laboratory Conditions” by STL, Tire
Technology International 2006.

188. “Process Marks in Disabled Tires” by Jean-Claude Brico, ITEC 2006

189. “On the Irregular Wear Over Tread Belt Separations” by John Daws, ITEC 2006

190. Ford Tire Warranty Guide - 2006

191. Ford Tire Conditions Guide - 2006

192. NHTSA FIRESTONE STEELTEX Investigative Reports

 
193.
194.
195.

196.
197.
198.
199.

Case 2:07-cv-00889-DGC Document 89-3 Filed 08/11/08 Page 37 of 47

“Forensic Analysis in Tire Tread Separations” by John W. Daws, RPN 3/5/07
Michelin /NHTSA, November 1, 2006

‘Vehicle Response Comparison to Tire Tread Separations Induced by
Circumferential Cut and Distressed Tires”, SAE 2007-01-0733 by D. Tandy,
Granat, Durisek, K. Tandy, Baldwin & Pascarella.

TISB: Passenger and Light Truck Used Tires, June 2007.

Tire Storage Dos & Don’ts by Peggy Fisher, Tire Business, May 21, 2007.
Tire Business June 20, 2007 article “Sell Used Tires—but Carefully’.

X-rays of Competitor Tires with Various Belt splice and Belt Wire Conditions.

 

 
Case 2:07-cv-00889-DGC Document 89-3 Filed 08/11/08 Page 38 of 47
JAMES D. GARDNER

 

EDUCATION

 

Bachelor of Science, Mechanical Engineering, The University of Akron, Akron, Ohio; June,
1967.

Master of Science, Mathematics, The University of Akron, Akron, Ohio; June, 1970.

Accident Reconstruction, University of Southem Califomia, Los Angeles, California; January,
1978.

Human Factor Engineering, ANACAPA Science, Santa Barbara, California; March, 1984,
Traffic Accident Reconstruction, Northwestem University, Evanston, Illinois ; February, 1986.

Mechanics of Heavy-Duty Trucks and Truck Combinations, The University of Michigan, Ann
Arbor, Michigan; July, 1987.

Tire Forensics for the Accident Investigator, University of North Florida, Jacksonville,
Florida; February, 1988.

Engineering of Viscoelastic Polymers and Composites, Massachusetts Institute of
-Technology, Cambridge, Massachusetts; July, 1992.

Inspection and Investigation of Commercial Vehicle Accidents, University of North Florida,
Phoenix, Arizona; July, 1993,

Investigation of Motorcycle Accidents, University of North Florida, Jacksonville, F lorida, August,
1994,

Fiber Reinforced Composite Materials, Massachusetts Institute of Technology, Cambridge,
Massachusetts: July, 1996. -

Fundamentals of Lasers, Fiberoptics, and Photonic Sensors, Massachusetts Institute of Technology,
Cambridge, Massachusetts; July, 1997.

Rheological Behavior of Polymeric Liquids With Laboratory Workshop, Massachusetts Institute of
Technology, Cambridge, Massachusetts: July, 1998.

Data And Models: Theory and Computer Practice, Massachusetts Institute of Technology,
Cambridge, Massachusetts; August, 1999.

Foams And Cellular Materials: Thermal And Mechanical Properties, Massachusetts
Institute of Technology, Cambridge, Massachusetts; July, 2000,
PROFESSIONAL ENGINEER

Licensed in the State of Ohio as a Professional Engineer.

 
Case 2:07-cv-00889-DGC Document 89-3 Filed 08/11/08 Page 39 of 47

WORK EXPERIENCE

Mr. Gardner started as a Co-op engineering student with The F irestone Tire & Rubber
Company in 1965. During that period and continuing after graduation, he worked in
passenger tire development until J anuary of 1969. During this period, Mr. Gardner worked on
the design and construction of original equipment passenger tires from the drawing board
through building, curing, and testing in both the laboratory and on the test track.

In January of 1969, Mr. Gardner joined the Advanced Tire Engineering Group at Firestone. In
this area, he worked on all types of tire design and construction including Truck, Tractor, Off-
Road, Airplane, Passenger, and special application tires. His responsibility included all phases
of engineering from project engineer to group leader. During this period (1969 through
November of 1976), Mr. Gardner was responsible for numerous projects ranging from strain
gauge work on aircraft tires to development and field testing of Urban Mass Transit tires.

From November 1976 to April of 1982, Mr. Gardner held the position of Product Engineer
and Senior Product Engineer. In these positions, he was responsible for failure mode analysis
of tires and served as a consultant in the area of tire failures and accident investigation.

From May of 1982 to September 2000, Mr. Gardner was Director of Product Analysis for
Bridgestone/Firestone, Inc. His department was responsible worldwide as independent
internal and external consultants to advise various other departments on the subjects of tire
failure analysis, accident reconstruction, tire performance Standards, safety literature and risk
prevention.

In October of 2000, Mr. Gardner became an independent engineering consultant. Mr, Gardner
has investigated accidents throughout the United States and overseas for private parties as
well as government agencies including the FBI. He has been qualified as an expert in the field
of tires and accident reconstruction in numerous States and federal courts throughout the

United States.

PUBLICATIONS

Methodology of Science and Law in Product Liabili
published by New Jersey Institute of Technology in 1977.

Controlled Skid Studies Illustrating Tiremarks Generated by Radial Tires
published by American Society of Mechanical Engineers in 1980.

The Distribution of the Inflation Forces on the Structural Members of a Radial Tire published
by the Society of Automotive Engineers in 1982,

Tractor Trailer Skid Marks Generated Under Controlled Test Conditions
published by American Society of Mechanical Engineers in 1982.

Tire Examination Following Accidents
published by Northwestern University Traffic Institute in 1986, -

 
Case 2:07-cv-00889-DGC Document 89-3 Filed 08/11/08 Page 40 of 47

The Role of Blowouts in Accident Causation
published by American Society of Mechanical Engineers in 1987.

Selected Research & Development Needs in Highway Safety
published by American Society of Mechanical Engineers in 1991.

The Role of Tread/Belt Detachment In Accident Causation published by
International Tire Exhibition And Conference (ITEC) in 1998.

Introduction to Tire Safety, Durability, and Failure Analysis, J.D.Gardner and
B.J.Queiser, Chapter 15 of The Pneumatic Tire, NHTSA, Washington, DC,

2005,

PATENTS

Author or Co-author of eleven U.S. and numerous foreign patents in the area of tire
technology.

ENGINEERING ORGANIZATIONS

Member of The Society of Automotive Engineers, the National and Ohio Society of
Professional Engineers, American Society of Mechanical Engineers, The Tire Society and the
National Association of Professional Accident Reconstruction Specialists,

Mr. Gardner has held several offices in the Safety Engineering and Risk Analysis division of the
American Society of Mechanical Engineers including division chairman, vice-chairman and
Transportation Safety committee chairman. In 1998, Mr. Gardner was elected to the grade of Fellow.

 
Case 2:07-cv-00889-DGCIRDUCTRSTIMORY Filed 08/11/08 Page 41 of 47

Derosier v. Cooper

Ellis v. Costco

McDonald v. Cooper

Miller Bristow v. Pirelli

Rios v. Kelly Springfield

Rodriguez v. Pirello

Snyder v. Goodyear

Spahn v. Bridgestone/Firestone

Williams v. Pirelli

Williams, Coleman

Wiliams v. CTNA

12/31/05

DATE

11/15/05

2/3/03

2/4/04

10/27/03

4/4/02

10/14/04

4/6/04

11/25/03

7/27/05

11/25/02

12/10/04

COURT

15" Judicial Court

Palm Beach County, FL

15th Judicial Court
Palm Beach County, FL

U.S.District Court
Middle District of FL
Tampa Division

US. District Court For
The Northern District of

Georgia — Atlanta Division

229" District Court
Duval County, Texas

District Court
Hector County, TX

Superior Court of CA
County of Los Angeles

USDC, Central District of
CA

Circuit Court of
Tenth Judicial Circuit
Polk County, FL

U.S District Court For The

N.District of Texas
Dallas Division

USS. District Court For The

Western District of
Pennsylvania

CASE NO.

50-1999-CA-002705

NO. 97-CL01-3133AJ

8:010CV-13-6-T-27

NO. 1 01-CV-0176-CAP

DC 01-78

NO. C-115,396

NO. TC015579

CV-01-07039

NO. 53-2002CA-0000-00

NO. 3-01CV0184-N

NO. 00-1258

 
Case 2:07-cv-00889-DGC Document 89-3 Filed 08/11/08 Page 42 of 47

NAME

Aguilera v. Bridgestone/Firestone,
Inc.

Albers v. Bridgestone/Firestone,
Inc.

Alvarez/Valanqua v. Cooper
Andrade v. Goodyear
Barrios v. Bridgestone/Firestone,

Inc.

Barcenas v. Bridgestone/Firestone,
Inc.

Beccara v. Bridgestone/Firestone,
Inc.

Bellorin v. Bridgestone/Firestone,
Inc.

Boerm v. Goodyear

Bracho v. Bridgestone/Firestone,
Inc.

Broussard v. Bridgestone/Firestone,
Inc.

Brunner v. Bridgestone/Firestone,
Inc.

 

DEPOSITION TESTIMONY
DATE COURT

11/12/02 Southern District of

Florida Miami Div.
11/15/02 USDC, Southern Dist. of

Florida, Miami Div.
3/8/05 15" Judicial Court

Palm Beach County, FL

11/15/05 63" District Court

ValVerde County, TX
8/14/03 Superior Court of CA,

City of San Francisco
12/15/04 USDC Northern District

of CA., San Jose
10/23/03 Probate Court No. 1,

Harris County, TX
3/4/03 District Court of Dallas

County, TX

116" Judicial District
7/22/03 District Court of

Bexar County, TX

288" Judicial District
5/11/04 215" JDC,

Harris County, TX
10/2/02 19" Judicial Court

Baton Rouge, LA
3/18/02 District Court of Matagoda

County, TX

CASE NO.

NO. 00-4363

NO. 00-3809-CIV
CA0212881AA
24678
1P015386CB/S
C030464

NO. 324907401

NO. 01-02156-F

NO. 2002-CI-05109
NO. 200044223
NO. 462082

NO. 99-J-0726-C

 
Case 2:07-cv-00889lWdé Docume@URT Filed 08/11/08 P@dSHNGE 47

Brzobohaty v.

Bridgestone/Firestone, Inc.

Castillo v. Cooper

Castillo De Zerpa v.

Bridgestone/Firestone, Inc.

Caston/ONeal v.

Bridgestone/Firestone, Inc.

Castro v. Bridgestone/Firestone,

Inc.

Castro-Barreto v. Cooper

Cedres v. Cooper

Clayton v. Bridgestone/Firestone,

Inc.

Crane v. Bridgestone/Firestone,

Inc.

Daer v. Yokohama

Dizon/Hernandez v.

Bridgestone/Firestone, Inc.

Elechar v. Falken

Ellis v. Costco

Engel v. Bridgestone/Firestone,

Inc.

Ewing v. Cooper

2/25/03

3/27/03

3/3/04

9/25/02

11/21/02

6/8/04

7/27/04

7/15/03

8/12/04

3/1/05

8/15/02

9/30/05

11/8/02

11/6/02

7/25/03

USDC, N. District of AL,
Western Division

Probate Court No. 2
Of Bexar County, TX

USDC Middle Dist. of
Ala., W. Division

USDC, For The Northern
Dist. of Tenn. Nash. Div.

Superior Court of CA,
City of LA

Superior Court of CA,
County of Los Angeles

Circuit Court of the 17%
Judical Circuit
Broward County

Duval County Circuit
Court, FL

Superior Ct. of CA,
City of San Mateo

U.S. District Court
District of Arizona

Superior Court of CA,
Los Angeles City, CA

Superior County, CA
Los Angeles, CA

15" Judicial Circuit NO.

Palm Beach County, FL

USDC District Court
For The Southern Dist. of
Florida Miami Division

Circuit Court of Noxubee
County, MS

1P00506S5CB/S
NO. 2001-PC-3896
NO.01-M-942

NO. 3:00-899
KC033067
BC254965

NO.01-01178CACE14

01-2305-CA
CIV433309
NO. CV01861
BC229087
BC257501
CLO1-3133 AJ

NO. 01-1710

NO. 2002-095

 
Case 2:07-cv-00889- BSE Documer&@¥RT Filed 08/11/08 P&ASHNG.47

Feger v. Dart

Fuentes v. Goodyear
Garcia v. Bridgestone/Firestone,
Inc.

Garcia v. Cooper

Glover v. Bridgestone/Firestone,
Inc,

Goodfellow v. Goodyear
Grusenmeyer v. Yokohoma
Hardin v. Bridgestone/Firestone,

Inc.

Hernandez v, CTNA

Hix/Barnett v. Cooper

Hughes v. Bridgestone/Firestone,
Inc.

Hutton v. Bridgestone/Firestone,
Inc.

Kent/Tracy v. Karen McCoy, et al.

Lawrence v. Bridgestone/Firestone,
Inc.

7/26/04

5/23/05

10/9/03

11/14/03

1/9/03

9/12/05

8/7/04

11/15/02

11/12/04

5/25/04

9/10/02

2/24/04

2/20/02

6/15/04

Oldham Circuit Court
Division
LaGrange, KY

139" District Court
Hidalgo County, TX

USDC, E. District of
TX, Marshall Division

229th Judicial District
Duval County, TX

Circuit Court, Holmes
County, MS

In the Court of Common
Pleas, Lorain County, OH

406" Judicial District
Webb County, TX

163 Judicial Court,
Orange County, TX

District Court
394" Judicial District
Presidio County, TX

U.S. District Court
Western District of TX

San Antonio Division

Circuit Court of Jackson

County, MO at Kansas City

192" JDC Dallas City, TX
Superior Court
Santa Clara County, CA

3" Judicial Court
Salt Lake City, UT

NO.02CI-00698

C186404C
2-02CV301TIW

NO. DC-02-73

2001-187
03CV134727
NO. 2003
CVE000101D4

NO. 010416C

NO. 6746

NO. SA03CA0841-RF

NO. 00-CV-222495

NO.024658
NO. CV 780778

CV03139

 
Case 2:07-cv-O0889LDAE DocumeiG@i9RF Filed 08/11/08 PaASESIOf 47

Leadlay v. Goodyear

Lucero v. CTNA

Lundgren v.
Bridgestone/Firestone, Inc.

Lundsford v. Titan

Martin v. Kendra Rubber

McCormick v.
Bridgestone/Firestone, Inc.

McDonald v. Cooper

MDL Depositions

Means v. Bridgestone, Firestone
Inc.

Meek v. Bridgestone/Firestone,
Inc.

Miller-Bristow v. Pireili

Moore v. Bridgestone/Firestone,
Inc.

Nabors v. Bridgestone/Firestone,
Inc.

1/28/05

District Court of the
Judicial District of the

State of Idaho

5/3/05 Superior Court of the State

3/12/04

7/12/04

3/22/02

3/12/04

1/28/03

6/21/02

7/13/05

6/25/02

10/6/03

9/8/04

8/29/05

Of CA, County of
Los Angeles, CA

Superior Ct. State of AZ
City of Maricopa

District Court
Nacoghoches County, TX
145" Judicial District

U.S.District Court,
S.District of Indiana
Indianapolis Division

United States District
Court, AZ

USS. District Court
Middle District of FL
Tampa Division

U.S. District Court
Southern District of
IN Indianapolis, IN

Circuit Court
Lowndes County, AL
Superior Court of

CA, County of Tulare

U.S. District Court For
The Northern Court Of

Georgia — Atlanta Division

Circuit City of Marshall
City, MS

Superior Court,

State of Alaska, Anchorage

NO. 04-CV-0087B

BC295577

CV2002-015221

NO. C-18810-2002

NO. IP01-0089

CM/S

NO.02-585

8:01-CV-1306-T-27

IP 00-1373

CV03138

NO. 01194453

NO. 1 01-CV-017C-CAP

NO, M01-347

3AN0309515C1

 
Case 2:07-cv-00889 PATE Documer£@9RT Filed 08/11/08 PEASBING. 47

Nava v. Bridgestone/F irestone,
Inc.

O'Brien v. Bridgestone/Firestone,
Inc.

Octavio v. Bridgestone/Firestone,
Inc.

Paniz v. Bridgestone/Firestone,
Inc,
Penley v. Bridgestone/Firestone,

Inc.

Pettit v. Bridgestone/Firestone,
Inc.

Potier v. Bridgestone/Firestone,
Inc.

Pronold v. Bridgestone/Firestone,
Inc.

Rebecek v. Bridgestone/Firestone,
Inc.

Rodriguez v. Pirelli
Rodriguez Robertina v.
Bridgestone/Firestone, Inc.
Rodriguez/Flores/Ojeda v.
Bridgestone/Firestone, Inc.

Salas v. Cooper

Segura v. Continental

7/2/02

5/8/03

2/5/03

11/15/02

6/21/05

1/10/03

11/10/04

12/5/02

1/15/02

9/17/04

12/3/04

7/29/03

1/14/03

9/6/02

Shinhoster v. Bridgestone/Firestone, 4/9/02

Inc.

57" Judicial Court,

Bexar County, TX

Circuit Court, Mobile
County, AL

USDC S. District of FL,
Miami Division

U.S. District Court
Southern District of
IN, Indianapolis, IN

21 Judicial Court
Kanakee City, IL

District Court, Clark
County, NV

USDC, District of
Lafayette-Opelousas

District Court, Johnson
County, KS

368" Judicial Court,
Williamson County, TX

District Court
Hector County, TX

Hillsborough Circuit
County Court, FL

Sixth Circuit Court For
Davidson County,
Nashville, TN

27\1st District Court
Of Wise County, TX

District Court, Harris
County, TX
152" Judicial Division

Circuit Court of Macon
County, AL

NO. 2001CL12335

CV-2001-2973

00-3826-CIV

NO. 00-5102-5107-5111

03L146

AV435596

CV032004

01 CV 05088

00487C368

NO. C115,396

NO. 01-4696

NO. 01 MD 2

NO. 01-05-354

NO. CV-2000-12-
2725

NO. CV-2001-197

 
Case 2:07-cv-00ss9QadE DocumeMQISRT Filed 08/11/08 FGASEUNOE 47

Sizemore v. Gold Eagle Co. 5/9/02 Court of Common Pleas, | NO. CV-2000-12-
Butler County of Ohio 2725
Smith, Tyson v. 11/8/02 U.S. District Court For NO. 1P015406CB/S
Bridgestone/Firestone, Inc. W. Division of Arkansas,
El Dorado
Snyder v. Goodyear 3/15/04 Superior Court of CA NO. TC015579
County of Los Angeles
Touchton v. 3/4/02 Duval County Circuit NO. 00-4735-CA
Bridgestone, Inc. Court, FL
Urdaneta v. Bridgestone/Firestone, 11/15/02 US. District Court of NO. 00-5011-5013
Inc. Southern District of

IN, Indianapolis, IN

Vaine v. Dodge 9/15/04 State of Vermont - NO. 620-11-01
County of Windsor
Windsor Superior Court
Wiest v. Bridgestone/Firestone, 2/23/05 Third District Court NO. 02095770
State of Utah, .
Salt Lake City
Williams v. Greyhound 5/14/04 Superior Court of NO. 01-V-993
6/23/04 Liberty County, GA
9/22/05
Williams v. Pirelli 6/2/04 Circuit Court NO. 53-2002CA-0000-00

Tenth Judicial Circuit
Polk County, FL

Williams v. CTNA 12/9/04 U.S. District Court For NO. 00-1258

The Western District of
Pennsylvania

12/31/05

 
